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                      SILVERADO SENIOR LIVING, INC., SILVERADO SENIOR LIVING MANAGEMENT, INC.,
                   11 SUBTENANT 330 NORTH HAYWORTH AVENUE, LLC, LOREN SHOOK, JASON RUSSO
                   12                          UNITED STATES DISTRICT COURT
                   13                         CENTRAL DISTRICT OF CALIFORNIA
                   14 JOE ANN CLACK, by and through her Guardian ad   Case No.
                      Litem, ZOANNE CLACK,
                   15                                                 DEFENDANTS’ NOTICE OF REMOVAL
                                       Plaintiff,                     OF ACTION TO FEDERAL COURT
                   16                                                 PURSUANT TO 28 U.S.C. §§ 1331, 1441,
                                vs.                                   1442 AND 1446
                   17
                      SILVERADO SENIOR LIVING, INC.; SILVERADO
                   18 SENIOR LIVING MANAGEMENT, INC.,
                      SUBTENANT330NORTHHAYWORTHAVENUE,
                   19 LLC; LOREN SHOOK, individually; JASON RUSSO,
                      individually;andDoes1-25,inclusive,
                   20
                                       Defendants.
                   21
                   22            TO THE HONORABLE COURT, PLAINTIFF HEREIN, AND HER
                   23 RESPECTIVE COUNSEL OF RECORD:
                   24            PLEASE TAKE NOTICE that Defendants SILVERADO SENIOR LIVING,
                   25 INC., SILVERADO SENIOR LIVING MANAGEMENT, INC., SUBTENANT 330
                   26 NORTH HAYWORTH AVENUE, LLC; LOREN SHOOK and, JASON RUSSO
                   27 (“Defendants”), by and through its counsel, files this Notice of Removal. This is a

LEWIS              28 civil action over which this Court has original jurisdiction pursuant to 28 U.S.C. §§
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                    1 1331 and 1442 and is one that may be properly removed to this Court pursuant to 28
                    2 U.S.C. § 1441. Pursuant to 28 U.S.C. § 1446(a), the Defendants assert the following
                    3 grounds in support of its Notice of Removal:
                    4 I.         PLEADINGS RELATED TO REMOVED CASE
                    5            1.    This action was initially filed on or about December 15, 2020, in the
                    6 Superior Court of California, County of Los Angeles, entitled Joe Ann Clack, by and
                    7 through her Guardian ad Litem, Zoanne Clack v. Silverado Senior Living, Inc.;
                    8 Silverado Senior Living Management, Inc., Subtenant 330 North Hayworth Avenue,
                    9 LLC; Loren Shook, individually; Jason Russo, individually; and Does 1-25, inclusive,
                   10 Los Angeles County Superior Court Case No. 20STCV47881.
                   11            Pursuant to 28 U.S.C. §1446(a), true and correct copies of all process, pleadings
                   12 and orders received by Subtenant in the Superior Court action are attached hereto as
                   13 Exhibit A.
                   14 II.        REMOVAL IS TIMELY
                   15            2.    Defendants first received a copy of the complaint on April 5, 2021.
                   16 Exhibit A. This Notice of Removal is filed within thirty (30) days of Defendants first
                   17 learning of the lawsuit; therefore, the Notice is timely pursuant to 28 U.S.C. § 1446(b).
                   18 See Romulus v. CVS Pharmacy, Inc., 770 F.3d 67 (1st Cir. 2014); See Chavarria v.
                   19 Mgmt. & Training Corp., No. 16-cv-617-H (RBB), 2016 U.S. Dist. LEXIS 197047,
                   20 at *6 (S.D. Cal. May 13, 2016) (indicating first 30-day-time-period is triggered if the
                   21 basis of removal is clear from initial pleading).
                   22            3.    Concurrent with the filing of this Notice, Defendants are serving this
                   23 Notice of Removal upon Plaintiffs and filing a copy of this Notice of Removal with
                   24 the Clerk of the Superior Court of the County of Los Angeles pursuant to 28 U.S.C.
                   25 § 1446(d).
                   26 III.       VENUE IS PROPER IN THIS COURT
                   27            4.    Removal to the United States District Court for the Central District of

LEWIS              28 California is proper because the state action was filed in the Superior Court of the
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                    1 State of California for the County of Los Angeles, as referenced in paragraph 1, above.
                    2 Accordingly, this Court is the appropriate venue for filing this Notice of Removal
                    3 pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1446(a).
                    4 IV.        JURISDICTION EXISTS UNDER 28 U.S.C. § 1331 BASED ON THE
                                 PREP ACT
                    5
                    6            5.    This is a civil action over which the Court has original jurisdiction under
                    7 28 U.S.C. §§ 1331 and is one that may be removed to this Court pursuant to 28 U.S.C.
                    8 §§ 1441 and 1446 based on federal question.
                    9            6.    Plaintiff’s Complaint faults Defendants for the manner in which they
                   10 used and administered COVID-19 countermeasures as part of their infection control
                   11 program and further alleges that, as result of this decision making, Joe Ann Clack
                   12 became infected with COVID-19 during her residency at Silverado in April 2020.
                   13 (Exhibit A, pgs. 2, 5.) These claims by their very nature relate to Defendants’ use
                   14 and allocation of PPE and COVID-19 testing as well as the administration of their
                   15 countermeasure program and facility which was admittedly in place at that time to
                   16 prevent the transmission of COVID-19 at the facility. (See Defendants’ RFJN
                   17 Exhibits 9, 32.)
                   18            7.    Plaintiff alleges Defendants are culpable for the way they employed
                   19 CDC guidelines to protect and treat plaintiff against infection from COVID-19, for
                   20 failing to take all reasonable and necessary precautions to ensure Plaintiff did not
                   21 contract COVID-19. In other words, Plaintiff seeks to hold Defendants liable for its
                   22 decisions directly relating to the delivery, distribution, and dispensing of
                   23 countermeasures to combat COVID-19, for the manner in which they tested residents
                   24 for COVID-19 and for the way they administered and utilized equipment and supplies
                   25 which are designated countermeasures to combat the COVID-19 outbreak, including
                   26 but not limited to items identified as PPE. Therefore, Plaintiff’s claims fall under the
                   27 Public Readiness and Emergency Preparedness Act, 42 U.S.C. §§ 247d-6d and 247d-

LEWIS              28 6e (2006) (the “PREP Act”), the applicability of which presents a significant Federal
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                    1 Question relating to the ongoing national emergency and COVID-19 pandemic.
                    2 (Exhibit A, generally and pp. 3-5, 13-16.)
                    3            8.    The PREP Act and the Preparedness Act for Medical Countermeasures
                    4 Against COVID-19, 85 Fed. Reg. 15198 (Mar. 17, 2020) are federal statutes that
                    5 apply specifically to healthcare providers such as Defendants in their purchase,
                    6 administration, allocation, dispensing, prescribing, distribution and use of
                    7 countermeasures to prevent or mitigate the spread of COVID-19.
                    8            9.    The PREP Act provides for exclusive Federal jurisdiction, an exclusive
                    9 Federal cause of action for a suit against a covered person, and complete preemption,
                   10 which exists when the preemptive statute contains civil enforcement provisions within
                   11 the scope of which state law claims fall and           there is a “clear indication of
                   12 Congressional intention to permit removal.” Railway Labor Executives Ass’n v.
                   13 Pittsburgh & Lake Erie R.R. Co., 858 F.2d 936, 942 (3rd Cir. 1988) citing Franchise
                   14 Tax Bd. of State of Calif. v. Construction Laborers Vacation Trust for Southern Calif.,
                   15 463 U.S. 1, 24 (1983). (See also Defendants’ RFJN Exhibits 31, 32.)
                   16            10.   Defendants’ purchasing, administration, dispensing, prescribing,
                   17 distribution and use of countermeasures, such as PPE and testing equipment to prevent
                   18 or mitigate the spread of COVID-19, which forms the basis of this action, presents a
                   19 federal question under the PREP Act giving this Court original jurisdiction
                   20 completely preempting all state law claims asserted by Plaintiff in the Complaint as
                   21 Defendants and their staff were acting as qualified persons and program planners for
                   22 the purpose of developing and implementing policies, procedures, and other
                   23 countermeasures to prevent, limit, and/or control spread of COVID-19. 42 U.S.C. §
                   24 247d-6d. Defendants and their staff are also covered persons authorized to administer
                   25 FDA approved COVID-19 devices, tests and medications use to treat the same.
                   26            11.   The PREP Act provides liability protections for pandemic and epidemic
                   27 products and security countermeasures. The PREP Act is applicable with respect to a

LEWIS              28 “covered countermeasure,” which definition includes: “(1) a qualified pandemic or
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                    1 epidemic product (as defined in § 247d-6d (i) (7)) . . . or (4) a respiratory protective
                    2 device that is approved by the National Institute for Occupational Safety and Health
                    3 (“NIOSH”) and that the Health and Human Service Secretary determines to be a
                    4 priority for use during a public health emergency declared under section 247d.” 42
                    5 USC § 247d-6d (i) (1).
                    6            12.   Specifically, this legislation empowers the Secretary of Health and
                    7 Human Services (HHS) to issue a written declaration and provide that a “covered
                    8 person shall be immune from suit and liability under Federal and State law with
                    9 respect to all claims for loss caused by, arising out of, relating to, or resulting from
                   10 the administration to or the use by an individual of a covered countermeasure” during
                   11 a health emergency. 42 U.S.C. § 247d-6d(a)(1). Also, 28 U.S.C. § 247d-6d(b)(8)
                   12 states that “no State or political subdivision of a State may establish, enforce, or
                   13 continue in effect with respect to a covered countermeasure any provision of law or
                   14 legal requirement that is different from, or in in conflict with, any requirement
                   15 applicable under this section” and relates to, among other things, use or administration
                   16 of a covered countermeasure.”
                   17            13.   On March 10, 2020, United States Health and Human Services Secretary
                   18 issued a Declaration invoking the PREP Act for the COVID-19 pandemic. The
                   19 Declaration was effective as of February 4, 2020. (See Defendants’ RFJN Exhibit 2.)
                   20 In the initial Declaration, Secretary Azar declared that “Administration of Covered
                   21 Countermeasures means physical provision of the countermeasures to recipients, or
                   22 activities and decisions directly relating to public and private delivery, distribution,
                   23 and dispensing of the countermeasures to recipients; management and operation
                   24 of countermeasure programs; or management and operation of locations for
                   25 purpose of distributing and dispensing countermeasures.” [Emphasis added.]
                   26            14.   The Secretary Azar subsequently issued an Amended Declaration under
                   27 the PREP Act, which was effective as of March 27, 2020. (See Defendants’ RFJN

LEWIS              28 Exhibit 3.) The Amendment added respiratory protective devices approved by NIOSH
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                    1 (National Institute for Occupational Safety and Health) as a covered countermeasure
                    2 under the PREP Act. On June 4, 2020, the Secretary further amended the March 10,
                    3 2020 Declaration to clarify that covered countermeasures under the Declaration
                    4 include qualified products that limit the harm COVID-19 might otherwise cause. This
                    5 Amendment was effective as of February 4, 2020. (See Defendants’ RFJN Exhibit 4.)
                    6 85 FR 21012.1
                    7            15.   On December 3, 2020, the Secretary issued a Fourth Amended
                    8 Declaration under the PREP Act, effective as of February 4, 2020. (See Defendants’
                    9 RFJN Exhibit 5–December 3, 2020 Fourth Amended Declaration of Health and
                   10 Human Services Secretary Azar Under the Public Readiness and Emergency
                   11 Preparedness Act for Medical Countermeasures Against COVID-19.) The
                   12 Secretary’s Fourth Amended Declaration provides that “COVID-19 is an
                   13 unprecedented global challenge that requires a whole-of-nation response that
                   14 utilizes federal, state, and local-distribution channels as well as private-distribution
                   15 channels. Given the broad scale of this pandemic, the Secretary amends [Section
                   16 VII of] the Declaration to extend PREP Act coverage to additional private-
                   17 distribution channels....” [Emphasis added.] (See Page 12 of Defendants’ RFJN-
                   18 Exhibit 5.)
                   19            16.   The Fourth Amended Declaration specifically provides that Section VII
                   20 of the Declaration is amended to extend liability protection under the PREP Act to
                   21 Covered Persons for Recommended Activities that are related to: “Covered
                   22 Countermeasures that are:
                   23             a.   Licensed, approved, cleared or authorized by the FDA (or that
                                  are permitted to be used under an Investigational New Drug
                   24             Application or an Investigational Device Exemption) under the FD&C
                                  Act or PHS Act to treat, diagnose, cure, prevent, mitigate, or limit the
                   25             harm from COVID-19, or the transmission of SARS-CoV-2 or a virus
                                  mutating therefrom; or
                   26
                   27    1
                        See also Families First Coronavirus Response Act, H.R. 6201, 116th Cong. § 6005
LEWIS              28 (2020).
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                   1              b.    A respiratory protective device approved by NIOSH under 42
                                  CFR part 84, or any successor regulations, that the Secretary
                   2              determines to be priority for use during a public health emergency
                                  declared under section 319 of the PHS Act to prevent, mitigate, or limit
                   3              the harm from COVID-19, or the transmission of SARS-CoV-2 or a
                                  virus mutating therefrom.” Defendants’ RFJN- Exhibit 5, 85 Fed. Reg.
                   4              79194, 79196-97.2
                   5
                                 17.   The Fourth Amended Declaration further makes explicit that there can
                   6
                         be situations where not administering a Covered Countermeasure to a particular
                   7
                         individual can qualify as a decision relating to the administration of a countermeasure
                   8
                         under the PREP Act. As an example, it states:           “Prioritization or purposeful
                   9
                         allocation of a Covered Countermeasure, particularly if done in accordance with a
                   10
                         public health authority’s directive, can fall within the PREP Act and this
                   11
                         Declaration’s liability protections.” Defendants’ RFJN-Exhibit 5, 85 Fed. Reg.
                   12
                         79194, 79197, Amendment to Section IX of the Secretary’s Declaration (emphasis
                   13
                         added).
                   14
                                 18.   In addition, the Fourth Amended Declaration provides that “the
                   15
                         Declaration must be construed in accordance with the Department of Health and
                   16
                         Human Services (HHS) Office of the General Counsel (OGC) Advisory Opinions
                   17
                         [of April 17, 2020 as modified on May 19, 2020 and October 22, 2020 as modified
                   18
                         on October 23, 2020] on the Public Readiness and Emergency Preparedness Act
                   19
                   20    2
                           Moreover, attached as Appendix A to April 17, 2020 Advisory Opinion is a list of
                   21    the “covered countermeasures” for which emergency use authorizations have been
                   22    issued by the United States Food and Drug Administration. (See Exhibit 8 and 10 to
                         Defendants’ RFJN.) The list includes twelve pages of COVID-19 test kits, and
                   23    provides that face shields, gowns, shoe covers, non-surgical isolation gowns, surgical
                   24    caps, properly labeled non-surgical masks, and certain non-NIOSH approved
                         respirators are covered by an EUA. Surgical masks are not listed; however, such
                   25    masks are Class II medical devices which are cleared by the FDA for use. (See 21
                   26    CFR 878.4040). Thus, COVID-19 testing kits, face masks, gowns, gloves and other
                         PPE are “qualified pandemic or epidemic products” and “covered countermeasures”
                   27    under the PREP Act, as such products are either FDA cleared/approved or are
                   28    included in an EUA.
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                    1 and the Declaration (“Advisory Opinions”). The Declaration incorporates the
                    2 Advisory Opinions for that Purpose.” Defendants’ RFJN–Exhibit 5, 85 Fed. Reg.
                    3 79192, 79194-95 (emphasis added). In doing so, these Advisory Opinions are
                    4 afforded Chevron controlling weight. See Chevron USA, Inc. v. Natural Resources
                    5 Defense Council, Inc., 467 US 837, 843-844 (1984) (where Congress has expressly
                    6 delegated interpretive authority to an agency, the agency’s interpretative
                    7 proclamations are controlling on the federal courts). Moreover, section (b)(7) of the
                    8 PREP Act provides that “[n]o court of the United States, or of any state, shall have
                    9 subject jurisdiction to review whether by mandamus or otherwise, any action by the
                   10 Secretary under this subsection.” 42 U.S.C. §§ 247d-6d and 247d-6e.
                   11            19.   The Fourth Amended Declaration also directly acknowledges the
                   12 federal interests in cases requiring interpretation and application of the PREP Act:
                   13                  “COVID-19 is a global challenge that requires a whole-of-nation
                                       response. There are substantial federal legal and policy
                   14                  issues, and substantial federal legal and policy interests
                                       within the meaning of Grable & Sons Metal Products, Inc. v.
                   15                  Darue Eng’g. & Mf’g., 545 U.S. 308 (2005), in having a
                                       unified, whole-of-nation response to the COVID-19
                   16                  pandemic among federal, state, local, and private-sector
                                       entities.”
                   17
                   18 See Defendants’ RFJN Exhibit 5, 85 Fed. Reg. 79191, 79197 (emphasis added).
                   19            20.   The Fourth Amended Declaration confirms the interpretation of the
                   20 PREP Act is a matter of significant federal concern, and that removal of any case
                   21 involving the interpretation of that Act is proper in accordance with the Supreme
                   22 Court holding in Grable.
                   23            The world is facing an unprecedented pandemic. To effectively respond,
                                 there must be a more consistent pathway for Covered Persons to
                   24            manufacture, distribute, administer or use Covered Countermeasures
                                 across the nation and the world. Thus, there are substantial federal legal
                   25            and policy issues, and substantial federal legal and policy interests within
                                 the meaning of Grable & Sons Metal Products, Inc. v. Darue Eng’g. &
                   26            Mf’g., 545 U.S. 308 (2005), in having a uniform interpretation of the
                                 PREP Act. [Emphasis added.]
                   27

LEWIS              28 See Defendants’ RFJN Exhibit 5, 85 Fed. Reg. 79191, 79197 (emphasis added).
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                    1            21.   Moreover, on January 8, 2021, HHS, Office of the General Counsel,
                    2 issued Advisory Opinion 21-01, which further confirms that the PREP Act can be
                    3 triggered even in cases of non-use of a covered countermeasure when the non-use is
                    4 the outcome of some form of decision-making process. (See Defendants’ RFJN
                    5 Exhibit 9, pg. 3.) According to the Opinion, the view that the PREP Act does not
                    6 encompass alleged omissions to use covered countermeasures “clashes with the plain
                    7 language of the PREP Act, which extends immunity to anything ‘relating to’ the
                    8 administration of a covered countermeasure.” (See Defendants’ RFJN, Exhibit 9, pgs.
                    9 2-3.)
                   10            22.   The Advisory Opinion further provides, after due analysis, that the PREP
                   11 Act is a complete preemption statute, stating that the “sine qua non of a statute that
                   12 completely preempts is that it establishes either a federal cause of action,
                   13 administrative or judicial, as the only viable claim or vests exclusive jurisdiction in
                   14 a federal court. The PREP Act does both.” (See Defendants’ RFJN, Exhibit 9, pgs. 2-
                   15 3.)
                   16            23.   The United States concurred, filing a Statement of Interest in Bolton v.
                   17 Gallatin Center for Rehabilitation & Healing, LLC, Case 3:20-cv-00683 (M.D.
                   18 Tenn.) The United States analyzes the relevant law and asserts the PREP Act is a
                   19 complete preemption statute with respect to the administration or use of covered
                   20 countermeasures. “Two key provisions of the PREP Act operate together to
                   21 demonstrate its completely preemptive nature: the immunity provision and the
                   22 exclusive alternative remedy provision.” (See Defendants’ RFJN, Exhibit 31.)
                   23            24.   A number of other statutes with analogous remedial structures have been
                   24 held to establish complete preemption and original federal jurisdiction:
                   25            Labor Management Relations Act (“LMRA”). The Supreme Court found
                   26 the LMRA to be a complete preemption statute. Thereunder, any state law claims that
                   27 are substantially dependent on analysis of a collective-bargaining agreement are

LEWIS              28 preempted by section 301 of the LMRA and must be brought in federal court.
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                    1 Caterpillar Inc. v. Williams, 482 U.S. 386, 393 (1987). However, before an employee
                    2 may bring a Section 301 claim in court, the employee must “‘at least attempt to
                    3 exhaust exclusive grievance and arbitration procedures established by the
                    4 [collective] bargaining agreement.’” Campbell v. Kane, Kessler, P.C., 144 F. App'x
                    5 127, 130 (2d Cir. 2005) (quotation omitted) [Emphasis added.]
                    6           Employee Retirement Income Security Act (“ERISA). ERISA, another
                    7 complete preemption statute, also has a “firmly established federal policy favoring
                    8 exhaustion of administrative remedies” for purposes of, inter alia, reducing the
                    9 number of frivolous lawsuits, providing a non-adversarial method of claims
                   10 settlement and minimizing the costs of claims settlement for all. Kennedy v. Empire
                   11 Blue Cross & Blue Shield, 989 F.2d 588, 594 (2d Cir. 1993); Paese v. Hartford Life
                   12 & Acc. Ins. Co., 449 F.3d 435, 445 (2d Cir. 2006).
                   13           Air Transportation Safety and System Stability Act (“ATSSSA”). The
                   14 Second Circuit has also applied the doctrine of complete preemption to the ATSSSA,
                   15 which is structurally similar to the PREP Act. Congress passed the ATSSSA after the
                   16 September 11th terrorist attacks to create an exclusive federal cause of action for
                   17 damages “arising out of the hijacking and subsequent crashes” of the aircraft used in
                   18 the attacks. ATSSSA § 408(b)(1), 49 U.S.C. § 40101. Like the PREP Act, the
                   19 ATSSSA also includes a fund, where a claim is filed and reviewed to determine
                   20 whether the claimant is an eligible individual under the Act. ATSSSA § 405; 49
                   21 U.S.C. §40101. Claims are limited under the fund and do not include punitive
                   22 damages awards. Similar to the PREP Act, Congress’ principal goals in enacting the
                   23 ATSSSA “were to provide relief without litigation to individuals harmed as a result
                   24 of the crashes and to limit the liability of entities that were likely to be sued for injuries
                   25
                   26
                   27

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                    1 suffered in connection with the crashes.” In re WTC Disaster Site, 414 F.3d 352, 377
                    2 (2d Cir. 2005) [Emphasis added].3
                    3           Federal Tort Claims Act (“FTCA”). The FTCA, which is strikingly similar
                    4 to the PREP Act, immunizes certain persons from liability and also provides an
                    5 administrative/judicial remedial scheme for claims falling thereunder. The FTCA
                    6 affords liability protection to federal employees for any negligent or wrongful acts
                    7 committed while acting within the scope of their employment and further provides an
                    8 exclusive federal cause of action under specified circumstances. Like the PREP Act,
                    9 before a judicial action may be instituted, the claimant must first present the claim
                   10 before the appropriate federal agency for adjudication. 28 U.S.C. § 2675. This
                   11 jurisdictional requirement cannot be waived, Celestine v. Mount Vernon
                   12 Neighborhood Health Ctr., 403 F.3d 76, 82 (2d Cir. 2005), resulting in the dismissal
                   13 of claims where a claimant fails to exhaust the administrative remedies. See, e.g.,
                   14 Leytman v. United States, No. 19-3929, 2020 WL 6297440, at *2 (2d Cir. Oct. 28,
                   15 2020) [affirming dismissal of pending and unexhausted claims under FTCA for lack
                   16 of subject matter jurisdiction]. Indeed, the federal remedy under the FTCA, similar to
                   17 the PREP Act, ensures that “decisions and conduct of federal public servants in the
                   18 course of their work will not be adversely affected by fear of personal liability for
                   19 money damages and of the burden of defending damage liability claims.” Melo v.
                   20 Hafer, 13 F.3d 736, 744 (3d Cir. 1994) (Emphasis added).
                   21           25.   Like the statutes discussed above, the PREP Act creates an exclusive
                   22 federal remedy for claims falling thereunder, involving both a pre-litigation
                   23 administrative component and a judicial component. 42 U.S.C. § 247d-6e; § 247d-
                   24 6d(d)(e). This remedial structure was purposefully established by Congress and is
                   25
                        3
                   26  Notably, the PREP Act shares operative language with the ATSSSA. Compare In re
                      WTC Disaster Site, 414 F.3d, at 375-76 [discussing the breadth and meaning of the
                   27 operative phrases “arising out of” “resulting from” and “relating to”] with 42 U.S.C.

LEWIS              28 § 247d-6d(a)(1).
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                    1 explicitly “exclusive of any other civil action or proceeding for any claim or suit [the
                    2 PREP Act] encompasses ….” 42 U.S.C. § 247d-6e(d).
                    3           26.   A recent case addresses the January 8, 2021 Advisory Opinion and
                    4 concludes that removal is proper because the PREP Act is a complete preemption
                    5 statute. On February 10, 2021, in Garcia v. Welltower OpCo Group LLC, No. 8:20-
                    6 CV-02250, at *8-9 (C.D. Cal. Feb. 10, 2021), the court denied a remand motion,
                    7 holding that the PREP Act has complete preemptive effect after analyzing the relevant
                    8 law and also affording appropriate deference to the Advisory Opinion. Id. at p. 10.
                    9 (See Defendants’ RFJN, Exhibit 32.)
                   10           27.   Under the PREP Act, Congress has provided an exclusive federal remedy
                   11 and exclusive federal jurisdiction for the substance of the allegations and relief sought
                   12 by Plaintiff in the Complaint thereby completely preempting State law with respect
                   13 to her claims regarding Defendants’ use of countermeasures, such as PPE and
                   14 COVID-19 testing, and the administration of their COVID-19 countermeasure
                   15 program to diagnose, treat, prevent or mitigate the spread of COVID-19.
                   16 V.        THE PREP ACT APPLIES BECAUSE DEFENDANTS ARE COVERED
                                PERSONS UNDER THE STATUTE
                   17
                   18           28.   The PREP Act applies to “Covered Persons” who administer or use a
                   19 “Covered Countermeasure” during a “Recommended Activity” in relation to COVID-
                   20 19. 42 U.S.C. § 247d-6d.
                   21           29.   A “covered person” includes a person or entity that “is a qualified person
                   22 who prescribed, administered, or dispensed” or is a program planner of COVID-19
                   23 Countermeasures and “an official, agent or employee of a person or entity therein
                   24 described.” 42 U.S.C. § 247d-6d(i)(2)(B)(iv) and (v).
                   25           30.   The PREP Act defines a “person” as an individual, partnership,
                   26 corporation, association, entity, or public or private corporation, including a federal,
                   27 state or local government agency or department.” 42 U.S.C. § 247d-6d(i)(5).

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                    1           31.   A “qualified person” is defined as a “licensed health professional or other
                    2 individual who is authorized to prescribe, administer, or dispense such
                    3 countermeasures under the law of the State in which the countermeasure was
                    4 prescribed, administered, or dispensed.” 42 U.S.C. § 247d-6d(i)(8).
                    5           32.   The term “program planner” includes persons/entities “who supervised
                    6 or administered a program with respect to the administration, dispensing,... provision,
                    7 or use of a . . . qualified pandemic product or epidemic product, including a person
                    8 who has established requirements, provided policy guidance, or supplied technical or
                    9 scientific advice or assistance or provides a facility to administer or use a covered
                   10 countermeasure in accordance with a [HHS Secretary’s] declaration... ” 42 U.S.C. §
                   11 247d-6d (i)(6).
                   12           33.   A private sector employer or other person can be a “program planner”
                   13 when it carries out prescribed activities. (See Defendants RFJN-Exhibit 2 -March 10,
                   14 2020 Declaration Under the Public Readiness and Emergency Preparedness Act for
                   15 Medical Countermeasures Against COVID-19, Federal Register, Vol. 85, No. 52, pg.
                   16 15199.) In its letter dated August 14, 2020, HHS stated that a “senior living
                   17 community” meets the definition of a “program planner” to the extent that it
                   18 supervises or administers a program with respect to the administration, dispensing,
                   19 distribution, provision or use of a qualified pandemic or epidemic product, including
                   20 the provision to a facility to administer or use a covered countermeasure. (See Exhibit
                   21 6 to Defendants’ RFJN.)
                   22           34.   The broad definition of “program planner” was also addressed in
                   23 Advisory Opinion 20-04, issued on October 22, 2020. (See Exhibit 7 to Defendants’
                   24 RFJN.)
                   25           35.   Defendants were acting as a “program planner” and “qualified person”
                   26 as Silverado is a residential care facility for the elderly licensed by the California
                   27 Department of Public Health, which employs licensed nursing personnel who are

LEWIS              28 authorized to prescribe, administer, or dispense the covered countermeasures set forth
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                    1 in Plaintiffs Complaint (i.e., PPE including facemasks, gloves, gowns, face shields,
                    2 N95 masks, and COVID-19 testing) under the laws of the State of California.
                    3 Importantly, a “private sector employer or community group or other ‘person’ can be
                    4 a program planner when it carries out the described activities.” 85 Fed. Reg. 15202.
                    5 HHS has already concluded that a residential care facility is a “program planner.
                    6 (Defendants’ RFJN, Ex. 2, 6.)
                    7 VI.       THE PREP ACT APPLIES HERE AS THERE IS A CAUSAL
                                CONNECTION BETWEEN THE USE AND ADMINISTRATION OF
                    8           COVERED COUNTERMEASURES BY DEFENDANTS
                    9           36.       The PREP Act “applies to any claim for loss that has a causal
                   10 relationship with the administration to or use by an individual of a covered
                   11 countermeasure, including a causal relationship with the . . . distribution . . .
                   12 purchase, donation, dispensing, prescribing, administration, licensing, or use of
                   13 such countermeasure.” [Emphasis added.] 42 USC § 247d-6d (a)(2)(B).
                   14           37.       Here, Plaintiff’s claims fall under the PREP Act in that they relate to the
                   15 covered countermeasures used and allocated by Defendants to prevent or mitigate the
                   16 spread of COVID-19 as well as their decision making related thereto and concerning
                   17 the management and operation of their countermeasure program, which includes the
                   18 use of PPE, medication and testing. Each cause of action in the Complaint is based
                   19 on Plaintiff’s underlying theory that Defendants failed to exercise ordinary care to
                   20 keep the premises, residents, and approaches safe by inadequately using,
                   21 administering, and distributing PPE and other countermeasures at the facility to
                   22 prevent or mitigate the spread of COVID-19. These are the precise countermeasures
                   23 mentioned in the PREP Act Declaration issued to address COVID-19.
                   24           38.       Furthermore, Plaintiff alleges that Defendants failed to prevent Ms.
                   25 Clack from contracting COVID-19. Such claim by its nature arises out of Defendants’
                   26 use,            distribution,    procurement       and     administration      of     covered
                   27 countermeasures/qualified pandemic products used to diagnose, mitigate, prevent,

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                    1 treat or cure the COVID-19 virus, or to limit the harm COVID-19 might otherwise
                    2 cause thereby triggering application of the PREP Act.
                    3           39.   In addition, under the PREP Act, the Secretary may specify that liability
                    4 protections are in effect only for Covered Countermeasures obtained through a
                    5 particular means of distribution. Section VII of Secretary Azar’s initial March 10,
                    6 2020 Declaration provided that “liability immunity is afforded to Covered Persons
                    7 only for Recommended Activities that are related to (a) Present or future federal
                    8 contracts, cooperative agreements, grants, other transactions, interagency agreements,
                    9 memoranda of understanding, or other federal agreements; or (b) Activities
                   10 authorized in accordance with public health and medical response of the Authority
                   11 Having Jurisdiction to prescribe, administer, deliver, distribute or dispense the
                   12 Covered Countermeasures following a Declaration of an emergency.” (See
                   13 Defendants’ RFJN Exhibit 2.)
                   14           40.   Secretary Azar’s Fourth Amended Declaration amended Section VII of
                   15 the Declaration. This Fourth Amendment provides that “COVID-19 is an
                   16 unprecedented global challenge that requires a whole-of-nation response that
                   17 utilizes federal, state, and local-distribution channels as well as private-distribution
                   18 channels. Given the broad scale of this pandemic, the Secretary amends [Section
                   19 VII of] the Declaration to extend PREP Act coverage to additional private-
                   20 distribution channels . . . .” [Emphasis added.] (See Page 12 of Defendants’ RFJN-
                   21 Exhibit 5.)
                   22           41.   The Fourth Amended Declaration specifically provides that Section VII
                   23 of the Declaration is amended to extend liability protection under the PREP Act to
                   24 Covered Persons for Recommended Activities that are related to: “Covered
                   25 Countermeasures that are:
                   26           i. Licensed, approved, cleared or authorized by the FDA (or that are
                                permitted to be used under an Investigational New Drug Application or
                   27           an Investigational Device Exemption) under the FD&C Act or PHS Act
                                to treat, diagnose, cure, prevent, mitigate, or limit the harm from
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                    1           COVID-19, or the transmission of SARS-CoV-2 or a virus mutating
                                therefrom; or
                    2
                                ii. A respiratory protective device approved by NIOSH under 42 CFR
                    3           part 84, or any successor regulations, that the Secretary determines to be
                                priority for use during a public health emergency declared under section
                    4           319 of the PHS Act to prevent, mitigate, or limit the harm from COVID-
                                19, or the transmission of SARS-CoV-2 or a virus mutating therefrom.”
                    5
                    6 (See Pages 22-23 of Defendants’ RFJN-Exhibit 5.)
                    7           42.   The PREP Act was designed to apply to individuals and entities such as
                    8 Defendants responding to public health emergencies, and it provides immunity for
                    9 claims involving “covered countermeasures” under the Act. The broad definition of
                   10 “administration of a covered countermeasure” set forth in Secretary Azar’s
                   11 declaration encompasses Defendants’ plans and decisions with respect to how best to
                   12 utilize and optimize supplies of PPE and COVID-19 testing kits, and whether and
                   13 when the use of such countermeasures is appropriate. Moreover, during the relevant
                   14 time frame to Plaintiffs’ claims, Defendants were subject to guidance/directives
                   15 issued by the Centers for Disease Control and Prevention (“CDC”), Centers for
                   16 Medicaid and Medicare Services (“CMS”), and the California Department of Public
                   17 Health (“CDPH”), and was following this applicable public health guidance with
                   18 respect to the use of PPE and COVID-19 testing. Defendants have thus established
                   19 that Plaintiffs’ claims relating to deficiencies in Defendants’ use and administration
                   20 of PPE and COVID-19 testing fall within the purview of the PREP Act.
                   21 VII. THIS CASE RAISES IMPORTANT FEDERAL ISSUES GRANTING
                           FEDERAL QUESTION JURISDICTION OVER THE MATTER
                   22
                   23           43.   The healthcare community’s response to this pandemic was coordinated
                   24 at a national level by HHS, CDC, FDA and CMS, and their issuance of detailed
                   25 directives to healthcare providers to identify and sequester infected patients, which
                   26 patients under investigation were to be tested, and the use of personal protective
                   27 equipment. All cases positive for COVID-19 were reported to the CDC, and initially

LEWIS              28 all testing was conducted solely through the CDC. As such, this case involves issues
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                    1 of national importance related to Defendants’ response to a national public health state
                    2 of emergency, which has not been seen by this country in over a century. Plaintiff’s
                    3 claims in this lawsuit invoke a substantial federal question regarding the extent to
                    4 which the broad immunities and other protections afforded under the PREP Act apply
                    5 to Defendants’ conduct.
                    6           44.   Federal courts have a substantial interest in determining the application
                    7 of the PREP Act in this matter. The PREP Act and its triggering immunity, has been
                    8 invoked in rare circumstances since it was enacted in 2005. The PREP Act and the
                    9 HHS Declaration confer a broad and sweeping immunity and other protections to
                   10 individuals and entities fighting the COVID-19 pandemic during this declared state
                   11 of emergency. The unique character of the COVID-19 virus as well as its high
                   12 communicability, required HHS to set forth an expansive Declaration covering broad
                   13 categories of measures to fight the pandemic including COVID-19 testing and PPE,
                   14 all of which require interpretation as to the scope and application. Thus, there can be
                   15 no doubt that there is a substantial and compelling interest for the PREP Act and the
                   16 Secretary’s Declaration to be interpreted by the Federal Courts. Moreover, the Federal
                   17 Courts are uniquely and properly positioned to interpret Congressional intent and
                   18 interests of the federal government.
                   19           45.   Federal jurisdiction is further appropriate as the state action “arises
                   20 under” federal law and raises a substantial federal issue, actually disputed and
                   21 substantial. See Grable & Sons Metal Prods. v. Darue Eng’g & Mfg., 545 U.S. 308
                   22 (2005). In Grable, the Supreme Court set forth a two-step process for determining
                   23 whether a state law claim “arises under” federal law. First, the state law claim must
                   24 “necessarily raise a stated federal issue, actually disputed and substantial.” Id. at 312.
                   25 Second, federal courts must be able to entertain state law claims “without disturbing
                   26 a congressionally approved balance of state and federal judicial responsibilities.”
                   27 (Gunn v. Minton, 568 U.S. 251, 258 (2013) (citing Grable, 545 U.S., at 313-14)).

LEWIS              28 Under Grable, the claims here satisfy both prongs as “arising under” federal law
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                    1 established by the Supreme Court. Further, the federal court in retaining jurisdiction
                    2 would not disturb the balance of state and federal responsibilities. Id.
                    3           46.   The PREP Act immunity in this action completely preempts all state law
                    4 claims, and its applicability poses a “substantial federal issue,” which would serve to
                    5 clarify and determine vital issues of law concerning the public health of the citizens
                    6 of this country. The District Court, therefore, has original jurisdiction.
                    7           47.   Federal jurisdiction over Plaintiff’s claims will not disturb federal-state
                    8 comity principles under Grable. As set forth by the Secretary in his Fourth Amended
                    9 Declaration: “Through the PREP Act, Congress delegated to me the authority to strike
                   10 the appropriate Federal-state balance with respect to particular Covered
                   11 Countermeasures through PREP Act declaration.” Moreover, the plain, statutory
                   12 language of the PREP Act expresses a strong federal interest and a clear intention to
                   13 supersede or preempt state control of the issues raised by Plaintiffs’ Complaint. (See
                   14 Defendants’ RFJN-Exhibits 30-32.)
                   15           48.   Congress did not intend the application of PREP Act immunity to be
                   16 decided by State courts. As such, this Court would not be disturbing or infringing on
                   17 any balance of State and Federal judicial responsibilities by retaining jurisdiction. To
                   18 the contrary, the plain language of the statute seeks to assert broad federal authority
                   19 over the issues arising under the Act and eliminate all semblance of State Court
                   20 control. HHS’s Fourth Amended Declaration makes explicitly clear that there is
                   21 exclusive federal jurisdiction over lawsuits involving covered countermeasures, and
                   22 that this “federal jurisdiction” is essential to the uniform provision of a national
                   23 response to the COVID-19 pandemic and the PREP Act.
                   24           49.   To avoid any doubt on these points, HHS under the new Administration
                   25 amended the implementing Declaration for the fifth time on January 28, 2021, a sixth
                   26 time on February 16, 2021, and a seventh time on March 11, 2021, confirming in all
                   27 three amendments that the PREP Act is a complete preemption statute. See 86 Fed.

LEWIS              28 Reg. at 7874, Defendants’ RFJN, Exhibits 30, 33, and 34.)”
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                    1 VIII. JURISDICTION EXISTS PURSUANT TO THE FEDERAL OFFICER
                            REMOVAL STATUTE (28 U.S.C. § 1442(A)(1)
                    2
                    3           50.   Removal is also proper under 28 U.S.C. § 1442(a)(1), which provides for
                    4 removal when a defendant is sued for acts undertaken at the direction of a federal
                    5 officer.
                    6           51.   “Unlike the general removal statute, the federal officer removal statute
                    7 [Section 1442(a)] is to be ‘broadly construed’ in favor of a federal forum.” Durham
                    8 v. Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir. 2006) [noting the U.S.
                    9 Supreme Court has held the right of removal is “absolute” for conduct performed
                   10 under color of federal office, and “has insisted that the policy favoring removal
                   11 ‘should not be frustrated by a narrow, grudging interpretation of § 1442(a)(1).’”].
                   12           52.   The case is removable pursuant to Section 1442(a) because “(1)
                   13 Defendants are ‘persons’ within the meaning of the statute; (2) Plaintiffs’ claims are
                   14 based upon Defendants’ conduct ‘acting under’ the United States, its agencies, or its
                   15 officers as members of the nation’s critical infrastructure; (3) Plaintiffs’ claims are
                   16 ‘for, or relating to’ an act under color of federal office; and (4) Defendants raise a
                   17 colorable federal defense to the Plaintiffs’ claims.” Stirling v. Minasian, 955 F.3d 795
                   18 (9th Cir. 2020). All requirements for removal under § 1442(a)(1) are satisfied here.
                   19           53.   Defendants are “persons” under the federal officer removal statute
                   20 pursuant to Section 1442(a)(1). Goncalves v. Rady Children’s Hosp. San Diego, 865
                   21 F.3d 1237, 1245 (9th Cir. 2017); 1 U.S.C. § 1 [word “person” includes corporations,
                   22 companies, associations, firms, partnerships, societies, and joint stock companies, as
                   23 well as individuals].
                   24           54.   The “acting under” requirement, like the federal removal statute overall,
                   25 is to be “liberally construe[d]” to cover actions that involve “an effort to assist, or to
                   26 help carry out, the federal supervisor’s duties or tasks.” Goncalves v. Rady Children’s
                   27 Hosp. San Diego, 865 F.3d 1237, 1247 (9th Cir. 2017); Ruppel v. CBS Corp., 701

LEWIS              28 F.3d 1176, 1181 (7th Cir. 2012) quoting Watson v. Philip Morris Cos., Inc., 551 U.S.
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                    1 142 (2007); see also Defender Ass'n of Phila. v. Johnson, 790 F.3d 457, 468 (3d Cir.
                    2 2015).
                    3           55.   To satisfy the second requirement (“acting under” a federal officer) “a
                    4 private persons actions ‘must involve an effort to assist, or to help carry out, the duties
                    5 or tasks of the federal superior.’” Watson v. Philip Morris Cos., 551 U.S. 142, 152
                    6 (2007). Federal courts “have explicitly rejected the notion that a defendant could only
                    7 be ‘acting under’ a federal officer if the complained-of conduct was done at the
                    8 specific behest of the federal officer or agency.” Papp v. Fore-Kast Sales Co., 842
                    9 F.3d 805, 813 (3d Cir. 2016). This requirement, too, is to be liberally construed.
                   10 Watson, 551 U.S., at 152.
                   11           56.   “[R]emoval by a ‘person acting under’ a federal officer must be
                   12 predicated upon a showing that the acts that form the basis for the state civil or
                   13 criminal suit were performed pursuant to an officer’s direct orders or to
                   14 comprehensive and detailed regulations. Cf. Bakalis v. Crossland Savings Bank, 781
                   15 F. Supp. 140, 144-145 (E.D.N.Y. 1991) (‘The rule that appears to emerge from the
                   16 case law is one of ‘regulation plus ....’”).” Ryan v. Dow Chemical Co., 781 F. Supp.
                   17 934, 947 (E.D.N.Y. 1992) “This control requirement can be satisfied by strong
                   18 government intervention and the threat that a defendant will be sued in state court
                   19 ‘based upon actions taken pursuant to federal direction.’” See Fung v. Abex, Corp.,
                   20 816 F. Supp. 569, 572 (N.D. Cal. 1992). The “acting under” requirement is met when
                   21 Defendant is acting pursuant to detailed and ongoing instructions from a federal
                   22 officer. Winters v. Diamond Shamrock Chem. Co., 149 F.3d. 387 (5th Cir. 1998).
                   23           57.   Prior to the current national pandemic, regulation of nursing homes was
                   24 very general in nature, requiring nursing homes to comply with certain quality of care
                   25 rules and regulations. See 42 U.S.C. § 1396r, 42 U.S.C. § 1395i-3 and 42 C.F.R. §
                   26 483.1 through 42 C.F.R. § 483.95. The Centers for Medicare and Medicaid Services
                   27 (“CMS”) also delegated oversight responsibility over these facilities to state

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                    1 surveyors, including the California Department of Public Health in California
                    2 (“CDPH”).
                    3           58.   However, with the start of the pandemic, everything changed.
                    4 Silverado–as part of the nation’s critical infrastructure–began acting at the specific
                    5 direction of federal authorities to address the ongoing federal effort and national state
                    6 of emergency to contain the COVID-19 pandemic and prevent the spread of the virus.
                    7 All actions taken by Silverado in preparation for and response to the COVID-19
                    8 pandemic were taken in that critical role “in an effort to assist, or help carry out, the
                    9 duties or tasks” as ordered by the CDC and CMS, and CDPH surveyors (per the
                   10 contract with CMS), and performed pursuant to the direct orders and comprehensive
                   11 and detailed directives issued by these agencies. Silverado was acting at the direction
                   12 of the federal government to prevent, treat and contain COVID-19 at the facility and
                   13 in its care and treatment of Ms. Joe Ann Clack.
                   14           59.   Indeed, the federal government enlisted nursing facilities, including
                   15 assisted living communities in its efforts to fulfill the government’s task of ensuring
                   16 that facilities such as Silverado could assist in the safe transfer and admission of
                   17 patients between healthcare facilities during an unprecedented national crisis. Thus,
                   18 Defendants acted “to assist, or to help carry out, the duties or tasks of the federal
                   19 superior,” by helping the federal government “fulfill [these and] other basic
                   20 governmental tasks” that otherwise “the Government itself would have had to
                   21 perform.” Watson v. Philip Morris Cos., 551 U.S. 142, 152 (2007).
                   22           60.   And in January 2020, in response to the pandemic, CMS and the CDC
                   23 began issuing extremely detailed and pervasive directives to healthcare facilities as
                   24 members of the nation’s critical infrastructure and as part of this coordinated national
                   25 effort to respond to and contain the COVID-19 pandemic. CDPH surveyors,
                   26 contracted by CMS, were now supervising skilled nursing facilities with respect to all
                   27 aspects of infection control and the pandemic response and ensuring strict compliance

LEWIS              28 with the CMS directives. The issuance of in time and evolving guidance in response
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                   1 to a public health emergency was in contrast to the role of CMS before the pandemic.
                   2 Prior to the pandemic, the focus was on ensuring compliance with existing
                   3 regulations. However, throughout the pandemic, CMS and CDPH as its agent,
                   4 specifically instructed facilities to take or not take particular clinical and operational
                   5 actions in the absence of finding deficiencies that would otherwise require the facility
                   6 to develop its own plan of correction. These directives included the following:
                   7                  A.    Early directives to skilled nursing facilities focused on monitoring
                   8    residents and staff for symptoms and protecting healthcare providers from infection
                   9    due to contact with symptomatic patients. Facilities were advised to adhere to
                   10   standards for infection prevention and take steps to prepare for COVID-19.
                   11                 B.    In January and February, 2020, the CDC issued a number of health
                   12   updates regarding COVID-19, as well as criteria to guide the evaluation and testing
                   13   of patients under investigation (“PUI”) for COVID-19. Healthcare providers were
                   14   advised to identify PUI based on clinical features, travel to an affected geographic
                   15   region and contact with a person confirmed to have tested positive for COVID-19.
                   16   Persons meeting the PUI criteria were to be tested and healthcare providers were
                   17   advised to immediately notify their local or state health department in the event they
                   18   were evaluating a PUI. State health departments in turn were instructed to
                   19   immediately contact the CDC and complete a PUI case investigation form. Initially
                   20   COVID-19 testing was conducted solely through the CDC. The CDC also instructed
                   21   healthcare providers to use standard, contact and airborne precautions when
                   22   interacting with PUI. (See January 8, 2020, CDC Health Update Outbreak of
                   23   Pneumonia of Unknown Etiology (PUE) in Wuhan China, a true and correct copy of
                   24   which is attached to Defendants’ RFJN as Exhibit 11; January 17, 2020 CDC Interim
                   25   Infection Prevention and Control Recommendations for Patients with Known or
                   26   Patients Under Investigation for 2019 Novel Coronavirus (2019-n-coV) in a
                   27   Healthcare Setting, a true and correct copy of which is attached to Defendants’ RFJN

LEWIS              28   as Exhibit 12; January 24, 2020 CDC Interim Infection Prevention and Control
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                    1   Recommendations for Patients with Known or Patients Under Investigation for 2019
                    2   Novel Coronavirus (2019-n-coV) in a Healthcare Setting, a true and correct copy of
                    3   which is attached to Defendants’ RFJN as Exhibit 13.)
                    4                 C.    On February 1, 2020, the CDC issued an “Update and Interim
                    5   Guidance on the Outbreak of 2019 Novel Coronavirus” to provide further instruction
                    6   to healthcare providers regarding 2019-nCoV 2019 (the 2019 Novel Coronavirus,
                    7   now known as COVID-19). This instruction was part of the “ongoing US public
                    8   health response . . . to identify and contain [the] outbreak and prevent sustained
                    9   spread of 2019-nCoV in the United States” and addressed infection prevention and
                   10   control specific to 2019-nCoV. [Emphasis added.] The CDC noted that the first
                   11   United States case was identified on January 21, 2020, and had recently traveled from
                   12   Wuhan, China. The CDC provided updated directives related to screening of patients
                   13   in healthcare facilities, and coordination with local health departments for testing and
                   14   reporting of results. The Update set forth the criteria for assessing patients for
                   15   COVID-19. Persons with a confirmed or suspected COVID-19 infection who were
                   16   hospitalized were to be evaluated and cared for in a private room with the door closed,
                   17   ideally an airborne infection isolation room. (See February 1, 2020 CDC Health
                   18   Update and Interim Guidance on the Outbreak of 2019 Novel Coronavirus (2019-n-
                   19   coV), a true and correct copy of which is attached to Defendants’ RFJN as Exhibit
                   20   14.)
                   21                 D.    In January and February, the California Department of Public
                   22 Health (“CDPH”) issued a number of All Facilities Letters (AFLs) communicating
                   23 directives issued by the CDC with respect to identification of PUI and infection
                   24 prevention and control. (See AFL20-09, 20-10, 20-11, 20-13, and 20-15, true and
                   25 correct copies of which are attached collectively to Defendants’ RFJN as Exhibit 15.)
                   26                 E.    On February 6, 2020, CMS began preparing healthcare facilities
                   27 for the national response to the emerging 2019 Novel Coronavirus by issuing a

LEWIS              28 Memorandum to State Survey Agency Directors (i.e., CDPH”). The memo directed
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                    1 healthcare providers to adhere to CDC directives regarding the use of standard,
                    2 contact and airborne precautions when interacting with PUI and advised facilities to
                    3 have PPE measures and protocols in place. (See February 6, 2020 CMS
                    4 Memorandum QSO 20-09-ALL, a true and correct copy of which is attached to
                    5 Defendants’ RFJN as Exhibit 16.)
                    6                 F.    On February 28, 2020, the CDC issued a Health Update and
                    7 Interim Guidance on the Outbreak of 2019 Novel Coronavirus (COVID-19) for
                    8 healthcare providers. The Update noted to date there had been limited spread in the
                    9 United States. As of February 26, 2020, there were a total of 61 cases in the country,
                   10 46 of whom were repatriated person from high-risk settings. The guidance again
                   11 included criteria to guide the evaluation and testing of patients under investigation
                   12 (“PUI”) for COVID-19. This update further added patients with fever and
                   13 signs/symptoms of lower respiratory illness without an alternative explanatory
                   14 diagnosis and no identified source of exposure to the list of those who should be
                   15 tested. At this time, testing was being performed at state public health laboratories
                   16 and the CDC. (See February 28, 2020 CDC Health Update and Interim Guidance on
                   17 Outbreak of Coronavirus Disease 2019 (COVID-19), a true and correct copy of
                   18 which is attached to Defendants’ RFJN as Exhibit 17.)
                   19                 G.    On or about March 3, 2020, the CDC issued “Strategies to
                   20   Prevent the Spread of COVID-19 in Long-Term Care Facilities (LTCF).” This
                   21   publication, issued specifically to facilities like Silverado, reiterated that standard,
                   22   contact and droplet precautions with eye protection were to be used in the care of
                   23   residents with an undiagnosed respiratory infection. Facilities were advised to make
                   24   PPE, including facemasks, eye protection, gowns and gloves available immediately
                   25   outside the resident’s room and to post signs on the door or wall outside the room
                   26   of the residence to clearly describe the type of precautions needed and the required
                   27   PPE. (See CDC “Strategies to Prevent the Spread of COVID-19 in Long-Term Care

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                   1    Facilities (LTCF), a true and correct copy of which is attached to Defendants’ RFJN
                   2    as Exhibit 18.)
                   3                  H.    On March 3, 2020, CDPH communicated, via its All Facilities
                   4    Letters, information contained in the CDC February 28, 2020 Interim Guidance and
                   5    the CDC’s March 3, 2020 guidance to long term care facilities in AFL 20-17. (See
                   6    CDPH AFL 20-17, a true and correct copy of which is attached to Defendants’ RFJN
                   7    as Exhibit 19.)
                   8                  I.    On March 4, 2020, CMS issued a Memorandum to State Survey
                   9    Agency Directors regarding Infection Control and Prevention of Coronavirus
                   10   Disease 2019 (COVID-19) in nursing homes. The State Survey Agency, as agent
                   11   for CMS, was also responsible for disseminating the contents of the QSO memo to
                   12   the States’ nursing homes. Facilities were to screen visitors for international travel,
                   13   symptoms of respiratory infection, and contact with someone with or under
                   14   investigation for COVID-19, and to restrict entry of visitors who meet these criteria.
                   15   Facilities were advised to screen staff for the criteria as well, and that staff who meet
                   16   the criteria should not report to work. The CMS instructions also included directions
                   17   as to when to transfer a resident with a suspected or confirmed COVID-19 infection
                   18   to a hospital, and under what conditions a nursing home may accept patients
                   19   diagnosed with COVID-19. CMS advised facilities to follow the available CDC
                   20   guidance regarding infection prevention and control. (See CMS Memo QSO 20-14-
                   21   NH, a true and correct copy of which is attached to Defendants’ RFJN as Exhibit
                   22   20.)
                   23                 J.    On March 8, 2020, the CDC issued further Updated Guidance on
                   24   Evaluating and Testing Persons for Coronavirus Disease 2019 (COVID-19). The
                   25   CDC advised that with the expanding spread of COVID-19, additional areas of
                   26   geographic risk were being identified and the criteria for considering testing were
                   27   being updated to reflect this spread. The Update indicated that additional COVID-

LEWIS              28   19 testing was becoming available in clinical laboratories and the CDC had been
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                   1    specifically directing which persons could be tested. (See March 8, 2020, the CDC
                   2    issued further Updated Guidance on Evaluating and Testing Persons for
                   3    Coronavirus Disease 2019 (COVID-19), a true and correct copy of which is attached
                   4    to Defendants’ RFJN as Exhibit 21.)
                   5                  K.    On March 10, 2020, the CDC issued Interim Infection Prevention
                   6    and Control Recommendations for Patients with Suspected or Confirmed
                   7    Coronavirus Disease 2019 (COVID-19) in Healthcare Settings. The publication
                   8    reiterated the directive regarding use of standard and transmission-based precautions,
                   9    and directed healthcare providers who enter the room of a patient with known or
                   10   suspected COVID-19 to adhere to standard precautions and use a respirator or
                   11   facemask, gown, gloves and eye protection. The CDC advised that patients with
                   12   known or suspected COVID-19 should be cared for in a single-person room with the
                   13   door closed. Airborne infection isolation rooms were to be reserved for patients
                   14   undergoing aerosol generating procedures. This CDC publication also noted that
                   15   “[m]ajor distributors in the United States have reported shortages of PPE, specifically
                   16   N95 respirators, facemask and gowns.” Based on a local and regional shortages of
                   17   PPE, the CDC advised that facemasks were an acceptable alternative when the
                   18   supply chain of respirators cannot meet the demand. Facilities were instructed to
                   19   prioritize respirators for situations where respiratory protection is most important.
                   20   The CDC further advised that in the event of a shortage of medical gowns, gowns
                   21   should also be prioritized for aerosol generating procedures. (See March 10, 2020, the
                   22   CDC issued Interim Infection Prevention and Control Recommendations for Patients
                   23   with Suspected or Confirmed Coronavirus Disease 2019 (COVID-19) in Healthcare
                   24   Settings a true and correct copy of which is attached to Defendants’ RFJN as Exhibit
                   25   22.)
                   26                 L.    On March 10, 2020, CMS issued a Memorandum providing an
                   27   update regarding the PPE recommendations issued by the CDC on March 10. (See

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                   1    CMS Memo QSO 20-17-ALL a true and correct copy of which is attached to
                   2    Defendants’ RFJN as Exhibit 23.)
                   3                  M.    On March 11, 2020, CDPH issued an All Facilities Letter
                   4    notifying long-term care facilities of the latest CDC and CMS directives for
                   5    infection control and prevention and the March 4, 2020 visitation restrictions issued
                   6    by CMS. (See CDPH AFL 20-22, a true and correct copy of which is attached to
                   7    Defendants’ RFJN as Exhibit 24.)
                   8                  N.    On March 13, 2020, President Trump declared the COVID-19
                   9    outbreak a national emergency. Following this proclamation, the CDC and CMS
                   10   took swift action to waive restrictions and expand capacity for healthcare providers
                   11   and suppliers to coordinate the national response to the nationally declared state of
                   12   emergency. On March 13, 2020, CMS issued revised infection control and
                   13   prevention directives for nursing homes to prevent the transmission of COVID-19.
                   14   In the Memo, facilities were ordered to restrict visitation of all visitors and non-
                   15   essential health care personnel, cancel communal dining and all group activities,
                   16   implement active screening of residents and staff for fever and respiratory symptoms,
                   17   and screen all staff at the beginning of their shift for fever and respiratory symptoms.
                   18   Facilities were ordered to continue to follow applicable CDC guidelines. (See CMS
                   19   Memo QSO 20-14-NH a true and correct copy of which is attached to Defendants’
                   20   RFJN as Exhibit 25.)
                   21                 O.    On March 17, 2020, the CDC issued documents containing
                   22   instructions to optimize the supply of PPE such as eye protection, isolation gowns,
                   23   N95 respirators and face masks. For facilities in contingency capacity, the CDC
                   24   advised that extended use of facemasks should be implemented and that the use of
                   25   facemasks should be restricted for use by healthcare providers rather than patients
                   26   for source control. During crisis capacity, facilities were to prioritize facemasks for
                   27   use during activities where prolonged face-to-face or close contact with a

LEWIS              28   potentially infectious patient is unavoidable, exclude healthcare providers at higher
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                    1   risk for severe illness from COVID-19 from contact with known or suspected
                    2   COVID-19 patients, use a face shield with no mask, and in settings where
                    3   facemasks were not available, use homemade masks. In the document pertaining to
                    4   optimizing the use of N95 respirators, the CDC advised that (1) if the healthcare
                    5   provider was to remain 6 feet away from a symptomatic patient, no facemask or
                    6   N95 respirator was required; (2) if the healthcare provider was to be within 3 to 6
                    7   feet of a symptomatic patient, a facemask should be used; and (3) if the healthcare
                    8   provider was to be within 3 feet of a symptomatic patient including providing direct
                    9   patient care, an N95 respiratory should be used if available. When an N95 respirator
                   10   was not available, healthcare providers were instructed to wear a surgical mask and
                   11   exclude healthcare providers at higher risk from severe illness from contact with an
                   12   infectious patient. (True and correct copies of these documents are attached
                   13   collectively to Defendants’ RFJN as Exhibit 26.)
                   14                 P.    On March 20, 2020, CMS issued a memo entitled Prioritization
                   15   of Survey Activities. In the memo, CMS advised that CMS surveyors would be
                   16   conducting targeted infection control surveys of providers identified in collaboration
                   17   with the CDC and the HHS Assistant Secretary for Preparedness and Response to
                   18   ensure providers are implementing actions to protect the health and safety of
                   19   individuals to respond to the COVID-19 pandemic. A skilled facility would be
                   20   subject to citation, and fines for failure to implement the directives from CMS.
                   21   Thus, the directives from CMS (which followed and instructed facilities to
                   22   follow the CDC guidance) were truly mandates, not recommendations. (See CMS
                   23   Memo QSO 20-20-ALL, a true and correct copy of which is attached to Defendants’
                   24   RFJN as Exhibit 27.)
                   25                 Q.    On March 21, 2020, the CDC issued further guidance
                   26 specifically aimed at long term care facilities entitled “Preparing for COVID-19:
                   27 Long-term Care Facilities Nursing Homes.” In this publication, nursing homes were

LEWIS              28 advised to restrict visitation, restrict all volunteers and nonessential healthcare
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                    1 personnel, cancel group activities and communal dining, implement active
                    2 screening of residents and healthcare providers for fever and respiratory symptoms,
                    3 and make PPE available in areas where resident care is provided and place a trash
                    4 can near the exit inside the resident’s room so staff can discard PPE prior to exiting.
                    5 The CDC further directed that “residents with known or suspected COVID-19 do
                    6 not need to be placed in an airborne infection isolation room (AIIR) but should
                    7 ideally be placed in a private room with their own bathroom. Room sharing might
                    8 be necessary if there are multiple residents with known or suspected COVID-19.
                    9 As roommates of symptomatic residents might already be exposed, it is generally
                   10 not recommended to separate them in this scenario.” (See March 21, 2020, CDC
                   11 publication entitled “Preparing for COVID-19: Long-term Care Facilities Nursing
                   12 Homes,” a true and correct copy of which is attached to Defendants’ RFJN as
                   13 Exhibit 28.)
                   14                 R.    On April 2, 2020, CMS issued new guidelines directed towards
                   15 long-term care facilities to “mitigate the spread” of COVID-19. CMS noted that
                   16 “[l]ong-term care facilities are a critical component of America’s healthcare
                   17 system…In recent weeks, CMS and CDC, at President Trump’s direction have
                   18 worked together to swiftly issue unprecedented targeted direction to the long-term
                   19 care facility industry, including a general prohibition of visitors implemented on
                   20 March 13, 2020, as well as strict infection control and other screening
                   21 recommendations.” CMS and the CDC were providing “critical, needed leadership
                   22 for the Nation’s long-term care facilities to prevent further spread of COVID-19” and
                   23 that long term care facilities were to immediately implement symptom screening for
                   24 all persons (residents, staff, visitors, outside healthcare workers, vendors, etc.)
                   25 entering a long term care facilities. Facilities were ordered to specifically ask about
                   26 COVID-19 symptoms and to check the temperature of all visitors, as well as limit
                   27 access points and ensure that all accessible entrances have a screening station. Every

LEWIS              28 resident was also to be assessed for symptoms and have their temperature checked
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                    1 every day, and patients and residents entering facilities screened for COVID-19
                    2 through testing, if available. CMS ordered facilities to ensure all staff are using
                    3 appropriate PPE when interacting with residents to the extent PPE is available and
                    4 per CDC guidance on the conservation of PPE. CMS further directed long term care
                    5 facility staff to wear a facemask while in the facility for the duration of the state of
                    6 emergency, to wear full PPE for the care of any resident with known or suspected
                    7 COVID-19, and if COVID-19 transmission occurs in the facility, healthcare
                    8 personnel were to wear full PPE in the care of all residents irrespective of COVID-
                    9 19 diagnosis and symptoms. Further, to avoid transmission within long-term care
                   10 facilities, the facilities were advised to use separate staffing teams for COVID-19
                   11 positive residents to the best of their ability, and to work with State and local leaders
                   12 to designate separate facilities or units within a facility to separate COVID-19
                   13 negative residents from COVID-19 positive residents and individuals with unknown
                   14 COVID-19 status. (A true and correct copy of this April 2, 2020 CMS Directive is
                   15 attached to Defendants’ RFJN as Exhibit 29.)
                   16           61.   Through the federal directives issued by the CDC, CMS, and the CDPH
                   17 surveyors contracted by CMS, federal authorities were making the operational
                   18 decisions as it related to the clinical pandemic response in skilled nursing facilities.
                   19 Facilities were ordered to restrict visitation, cancel communal dining, implement
                   20 active screening and staff for fever and respiratory symptoms, screen staff at the
                   21 beginning of their shift for fever and respiratory symptoms and actively take their
                   22 temperature and document the absence of shortness of breath and any new or change
                   23 in cough and sore throat. Facilities were instructed on which patients and staff to test
                   24 for COVID-19, under what circumstances to use and how to conserve PPE, when to
                   25 permit staff who had COVID-19 to return to work, and how to handle the isolation of
                   26 residents infected with COVID-19 and those under investigation for COVID-19.
                   27 These very detailed clinical directives and instructions represented a marked departure

LEWIS              28 from the regulatory structure which existed before the pandemic. Moreover, as
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                    1 acknowledged by HHS in the Fourth Amended Declaration: “COVID-19 is an
                    2 unprecedented global challenge that requires a whole-of-nation response that utilizes
                    3 federal, state and local-distribution channels as well as private-distribution channels
                    4 [for the provision of covered countermeasures].” (See page 12 of Defendants’ RFJN
                    5 Exhibit 5.)
                    6           62.   At all relevant times, Defendants in the present action, in their
                    7 preparation and response to the COVID-19 outbreak, were acting at the specific
                    8 instruction and oversight of the federal government, specifically the HHS, CMS, and
                    9 CDC in responding to a federal effort to address the ongoing national state of
                   10 emergency. Defendants’ actions were taken “in an effort to assist, or to help carry out,
                   11 the duties or tasks” dictated by the CDC and CMS in responding to the COVID-19
                   12 pandemic.
                   13           63.   Defendants’ actions and conduct were taken due to unprecedented and
                   14 “strong government intervention” which went beyond the “mere auspices of federal
                   15 direction.” See Fung v. Abex Corp., 816 F. Supp. 569, 572 (N.D. Cal. 1992).
                   16           64.   Defendants were acting specifically at the direction and under the
                   17 supervision of the United States government with respect to various countermeasures
                   18 implemented to prevent and treat the COVID-19 virus, including following evolving
                   19 and specific guidelines from CMS and CDC with respect to: (1) infection control
                   20 policies and procedures; (2) PPE procurement; (3) PPE allocation; (4) admission and
                   21 discharge of residents; (5) managing visitors and outside persons, (6) staffing
                   22 allocation and retention; (7) isolation protocols and management, among multiple
                   23 additional directives.
                   24           65.   Defendants’ response to the COVID-19 outbreak as it relates to Ms.
                   25 Clack was directly related to what they were asked to do by the federal government.
                   26 Therefore, Silverado was acting at the direction of the federal government, and
                   27 jurisdiction exists pursuant to the Federal Officer Removal Statute.

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                    1           66.   In addition, Defendants can establish a causal nexus between Plaintiffs’
                    2 claims and the actions they took were under federal direction. Winters v. Diamond
                    3 Shamrock Chemical Co., 149 F.3d 387, 398 (5th Cir. 1998). Here, Plaintiffs allege
                    4 that due to the wrongful acts and omissions of Defendants, Ms. Clack became infected
                    5 with COVID-19 during her residency at Silverado in March 2020. (Exhibit A, pg. 4,
                    6 16, 17, 18, 20, 22.) Defendants’ response to the COVID-19 pandemic as it relates to
                    7 the claims of Plaintiff (i.e., the care and treatment of Ms. Clack) was directly related
                    8 to the orders and directives issued to them as members of the nation’s critical
                    9 infrastructure by the federal government. There is a clear causal nexus between the
                   10 claims against Defendants and the actions taken by Defendants in that role at the
                   11 direction of the federal government including, but not limited to, the direction of
                   12 CDC, CMS, as well as by representatives of CDPH, the State Survey Agency acting
                   13 under contract with CMS, with respect to the response to the pandemic at the facility
                   14 and the administration of care to Ms. Clack. The nexus element is therefore met as
                   15 Defendants were following the orders/directives of CMS with regard to infection
                   16 control, COVID-19 testing and the use of PPE as part of the nation’s critical
                   17 infrastructure.
                   18           67.   Defendants also meet the requirement to assert colorable federal
                   19 defenses. For purposes of removal, the defense must be “colorable” and need not be
                   20 “clearly sustainable” as the purpose for the removal statue is to secure the validity of
                   21 the defense may be tried in federal court. Willingham v. Morgan, 395 U.S. 402, 407
                   22 (1969). The colorable federal defense element is met where a defendant alleges its
                   23 actions were justified as the defendant was complying with federal directives with
                   24 respect to the alleged wrongful acts. See Venezia v. Robinson, 16 F.3d 209, 212 (7th
                   25 Cir. 1994); and Mesa v. California, 489 U.S. 121, 126-127. See also Rural
                   26 Community Workers Alliance v. Smithfield Foods, Inc., No. 5:20-CV-06063-DGK
                   27 2020 WL 2145350 (W.D. Mo. May 5, 2020) finding that compliance with federal

LEWIS              28 guidelines aimed to protect employees from COVID-19 exposure served as a defense
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                    1 to civil liability. Here, Defendants were complying with Federal directives and
                    2 regulations issued by CMS, the CDC, and CDPH, the CMS contracted state
                    3 surveyors, in responding to all aspects of the COVID-19 pandemic.
                    4           68.   As a colorable defense, Defendants also assert an immunity defense
                    5 under the PREP Act as set forth at 42 U.S.C. 247d-6d(a)(1), which provides
                    6 Defendants with immunity, as “covered persons”, from “suit and liability under
                    7 Federal and State law with respect to all claims for loss caused by, arising out of,
                    8 relating to, or resulting from the administration to or the use by an individual of
                    9 covered countermeasure” provided there has been a declaration issued by the
                   10 Secretary of HHS with respect to such countermeasure, which was issued on March
                   11 10, 2020 with regard to the COVID-19 pandemic, (See Defendants’ RFJN Exhibit 2).
                   12           69.   Plaintiff’s Complaint alleges that Defendants failed to prevent Ms. Clack
                   13 from contracting COVID-19. Plaintiff’s claims relate to Defendants’ administration
                   14 and/or use of covered countermeasures and qualified pandemic products–including
                   15 PPE, and COVID-19 testing kits, used to diagnose, mitigate, prevent, treat or cure
                   16 COVID-19 or to limit the harm COVID-19 might otherwise cause–and therefore falls
                   17 under the PREP Act. Thus, the claims fall under the PREP Act, triggering Defendants’
                   18 immunity from liability for the claims in this action.
                   19 IX.       ALL DEFENDANTS CONSENT TO REMOVAL
                   20           70.   All remaining Defendants in this action join in and consent to this Notice
                   21 of Removal.
                   22 X.        FILING OF REMOVAL PAPERS
                   23           71.   Pursuant to 28 U.S.C. § 1446(d), contemporaneously with the removal
                   24 of this action to this Court, Defendants have provided written notice of removal to
                   25 Plaintiffs’ Counsel and has filed a Notice to State Court of Removal to Federal Court
                   26 with the Superior Court of California, County of Los Angeles. A true and correct copy
                   27 of the Notice to Adverse Party of Removal of Action is attached here as Exhibit B.

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                    1 A true and correct copy of the Notice to State Court of Removal to Federal Court is
                    2 attached hereto as Exhibit C.
                    3 XI.       NO WAIVER
                    4           72.   Nothing in this Notice of Removal shall be interpreted as a waiver or
                    5 relinquishment of Defendants’ right to petition to compel arbitration or right to assert
                    6 any defense or affirmative matter including, without limitation, the defenses of (1)
                    7 lack of jurisdiction over a person; (2) improper venue; (3) insufficiency of process;
                    8 (4) insufficiency of service of process; (5) failure to state a claim; or (6) any other
                    9 procedural or substantive defense available under state or federal law.
                   10           73.   Removal to federal court is proper in this case and the undersigned
                   11 counsel for Defendants has read the foregoing and signs this Notice of Removal
                   12 pursuant to Fed. R. Civ. P. 11, as required by 28 U.S.C. § 1446(a).
                   13           WHEREFORE, Defendants respectfully remove this action from the Superior
                   14 Court of California, County of Los Angeles, to this Court pursuant to 28 U.S.C. §§
                   15 1331, 1441, and 1446, and provides Plaintiff of notice of same. Should any question
                   16 arise as to the propriety of this removal, Defendants respectfully request an
                   17 opportunity to provide further briefing and oral argument.
                   18 DATED: May 5, 2021                         LEWIS BRISBOIS BISGAARD & SMITH LLP
                   19                                       By: /s/ Rita R. Kanno
                                                                Rima M. Badawiya
                   20                                           Lann G. McIntyre
                                                                Rita R. Kanno
                   21                                           Attorneys for Defendants
                                                                SILVERADO SENIOR LIVING, INC., et al.
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                           EXHIBIT A

                                                                   Ex. A-36
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                                                                                                                                                                             SUM-100
                                                         SUMMONS                                                                                FOR COURT USE ONLY
                                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                                 (CITA CION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AV/SO AL DEMANDADO):
            SILVERADO SENIOR LIVING, INC.;
            "Additional Parties Attachment form is attached"
           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE):
            JOE ANN CLACK, by and through her Guardian ad Litem, ZOANNE
            CLACK,
            NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response . You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca .gov/selfhelp) , your county law library, or the courthouse nearest you . If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form . If you do not file your response on time , you may lose the case by default, and your wages , money, and property
            may be taken without further warning from the court.
                There are other legal requirements . You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program . You can locate
            these nonprofit groups at the California Legal Services Web site (www.la whelpcalifornia.org) , the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/se/fhelp) , or by contacting your local court or county bar association . NOTE : The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10 ,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ;AV/SO! Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
            continuaci6n.
               Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta .
            Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www. sucorte .ca .gov), en la
            biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
            que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
            podra quitar su sue/do, dinero y bienes sin mas advertencia .
              Hay otros requisitos lega/es. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede /Jamar a un servicio de
            remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servicios /egales gratuitos de un
            programa de servicios /egales sin fines de /ucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
            (www. lawhelpcalifornia .org), en el Centro de Ayuda de las Cortes de California, (www. sucorte .ca.gov) o poniendose en contacto con la corte o el
            co/egio de abogados locales. AV/SO: Por /ey, la corte tiene derecho a rec/amar las cuotas y /os costos exentos por imponer un gravamen sobre
            cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
            pa gar el gravamen de la corte antes de que la corte pueda desechar el caso.

          The name and address of the court is:                                                                               CAS E NUMBER:
                                                                                                                              (Numero de/ Caso) :
          (El nombre y direcci6n de la corte es):            Los Angeles Superior Court
                                                                                                                                       20STCV47881
           111 N. Hill Street
           Los Angeles, CA 90012
           The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
           (El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
           Jody C. Moore, 100 E. Thousand Oaks Blvd., Suite 229, Thousand Oaks, CA 91360 (805) 988-3661

           DATE:                                                               Clerk, by                                                                                     , Deputy
           (Fecha)                                                             (Secretario)                                                                                   (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)) .
                                            NOTICE TO THE PERSON SERVED: You are served
            [SEAL]
                                            1.           D
                                                    as an individual defendant.
                                           2.            D
                                                    as the person sued under the fictitious name of (specify) :


                                                    3.   D     on behalf of (specify) :

                                                         under:   D       CCP 416.10 (corporation)                             D         CCP 416.60 (minor)
                                                                  D       CCP 416.20 (defunct corporation)                     D         CCP 416.70 ( conservatee)
                                                                  D       CCP 416.40 (association or partnership)              D         CCP 416.90 (authorized person)
                                                                  D     other (specify):
                                                    4.   D      by personal delivery on (date):
                                                                                                                                                                                 Pa e 1 of 1
            Form Adopted for Mandatory Use
              Judicial Counci l of Californ ia
                                                                                        SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                Ex. A-37
                                                                                                                                                                       www. courtinfo .ca.gov
              SUM-100 [Rev. July 1, 2009)
                Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 38 of 108 Page ID #:38

                                                                                                                            SUM-200(A)
                                                                                               CASE NUMBER:
     SHORT TITLE:
>-   Clack vs. Silverado Senior Living, Inc. , et al.                                             20STCV47881



                                                           INSTRUCTIONS FOR USE
  .. This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons .
  .. If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

     List additional parties (Check only one box. Use a separate page for each type of party.):

      D       Plaintiff         [ZJ   Defendant    D   Cross-Complainant   D    Cross-Defendant

     SILVERADO SENIOR LIVING MANAGEMENT, INC., SUBTENANT 330 NORTH HAYWORTH
     AVENUE, LLC; LOREN SHOOK, individually; JASON RUSSO, individually; and Does 1-25, inclusive,




                                                                                                                  Page     2    of       2
                                                                                                                                     Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California                 ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007)                       Attachment to Summons
                                                                                                                         Ex. A-38
Electronically FILED by Superior Court of California, County of Los Angeles on 12/15/2020 10:59 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                           Case 2:21-cv-03815 Document 1 20STCV47881
                                                          Filed 05/05/21 Page 39 of 108 Page ID #:39
                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Stephen Goorvitch




                                  Jody C. Moore, 192601
                           1      Gregory L. Johnson, 177889
                           2      Joanna A. Hutchins, 307058
                                  JOHNSON MOORE
                           3      100 E. Thousand Oaks Boulevard, Suite 229
                                  Thousand Oaks, CA 91360
                           4
                                  Telephone:    (805) 988-3661
                           5      Facsimile:    (805) 494-4777

                           6      Attorneys for Plaintiff
                           7                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                           8                                                       COUNTY OF LOS ANGELES
                           9
                                  JOE ANN CLACK, by and through her                                            CASE NO.:
                         10
                                  Guardian ad Litem, ZOANNE CLACK,
                         11                                                                                    COMPLAINT FOR DAMAGES:
                                                               Plaintiff,                                        1. Elder Abuse and Neglect (Welf. &
                         12       vs.                                                                               Inst. Code, § 15600, et seq.)
                                                                                                                 2. Negligence
                         13
                                  SILVERADO SENIOR LIVING, INC.;
                         14       SILVERADO SENIOR LIVING
                                  MANAGEMENT, INC., SUBTENANT 330
                         15       NORTH HAYWORTH AVENUE, LLC;
                                  LOREN SHOOK, individually; JASON
                         16
                                  RUSSO, individually; and Does 1-25,
                         17       inclusive,

                         18                                  Defendants.
                         19                  Plaintiff hereby allege as follows:
                         20                  Plaintiff JOE ANN CLACK, by and through her Guardian ad Litem, ZOANNE CLACK
                         21       hereby bring this action for damages against Defendants SILVERADO SENIOR LIVING, INC.;
                         22       SILVERADO SENIOR LIVING MANAGEMENT, INC., SUBTENANT 330 NORTH
                         23       HAYWORTH AVENUE, LLC; LOREN SHOOK, and JASON RUSSO, hereafter collectively
                         24       referred to as the “SILVERADO DEFENDANTS.”
                         25                                                                   INTRODUCTION
                         26             1. SILVERADO SENIOR LIVING - BEVERLY PLACE has had one of the worst
                         27       outbreaks of COVID-19 in any assisted living facility in California: thirteen (13) residents and
                         28       one (1) staff member are now dead from coronavirus; a total of fifty-eight (58) residents have


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 1   been infected, along with thirty-nine (39) staff members (97 infections in total); while other
 2   COVID-19 related deaths remain hidden from the public. 1 Only one assisted living facility in the
 3   state of California (out of 395 facilities) reported higher numbers. This case involves one of the
 4   residents who became infected.
 5       2. JOE ANN CLACK (hereinafter, “MS. CLACK”) contracted COVID-19 while living at
 6   SILVERADO SENIOR LIVING - BEVERLY PLACE in April 2020. After suffering a lengthy
 7   battle with the virus, MS. CLACK is now COVID-free, but the long-term effects of the virus on
 8   her overall health and life expectancy are still unknown.
 9       3. MS. CLACK did not get infected with the coronavirus due to some unforeseen act-of-God.
10   Rather, she became infected because the corporate decision-makers chose to skirt safety and
11   infection control standards. This case is about the decisions made by the corporate directors of
12   SILVERADO SENIOR LIVING - BEVERLY PLACE that invited the coronavirus to walk
13   through its proverbial front doors (or through the elevator from the parking garage, as the facts
14   will show).
15       4.   In this case, the corporate directors of an assisted living home for the elderly made the
16   choice to close its doors to family and non-essential personnel, claiming it was too dangerous to
17   allow anyone inside the building other than the residents and staff who care for them. The
18   SILVERADO DEFENDANTS were aware that any person could inadvertently bring the
19   coronavirus into its building and fatally infect its resident population.
20            •    On March 10, 2020 the SILVERADO DEFENDANTS required all visitors at
21                 SILVERADO SENIOR LIVING - BEVERLY PLACE to stop at the front desk for
22                 screening.
23            •    On March 12, 2020, the SILVERADO DEFENDANTS asked all family and visitors
24                 to withhold visits for 2 weeks.
25
26
27   1
      COVID-19 Positive Cases in Adult and Senior Care Facilities, COVID-19 Information and Resources,
28   <https://www.cdss.ca.gov/inforesources/cdss-programs/community-care-licensing/covid-19-information-
     and-resources> [as of Dec. 9, 2020].

                                                      2
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 1          •   On March 13, 2020, the SILVERADO DEFENDANTS explained to family members
 2              that “we are putting our residents at significant risk by exposing them to what may
 3              come through the front door.” The SILVERADO DEFENDANTS limited all visitors
 4              until April 1st and further instructed: “do not enter if you have recently traveled to an
 5              area with an outbreak of Coronavirus…”
 6          •   On March 15,2020, the SILVERADO DEFENDANTS prohibited all family and
 7              private duty sitters/resident companions from entering the building. Only
 8              SILVERADO SENIOR LIVING - BEVERLY PLACE associates and healthcare
 9              professionals were allowed in the building. The policy prohibiting outside visitors
10              and residents was reiterated on March 16, 2020 and March 17, 2020.
11      5. At the same time, those same corporate directors made the choice to admit a (1) new
12   resident (2) who would have to fly on a commercial airplane (3) to Los Angeles from New York,
13   the epicenter of the virus, in the midst of the deadly coronavirus pandemic, (4) without
14   screening, testing, or isolation. In allowing the new resident to be admitted, the corporate
15   directors also allowed his family (who also flew from London to New York, and then New York
16   to Los Angeles) into the building, when other families were locked out.
17          •   On March 19, 2020, the SILVERADO DEFENDANTS chose to admit a new resident
18              who flew on a commercial flight from Manhattan to Los Angeles and came directly to
19              SILVERADO SENIOR LIVING - BEVERLY PLACE’s memory care unit on the
20              third floor, without any period of isolation or quarantine. He was accompanied by a
21              daughter, who also flew on that flight with him, and who had flown to New York
22              from London. Once in the building, he was not quarantined and not tested for the
23              virus.
24          •   On March 20, 2020, he was symptomatic with cough, fever and lethargy. His
25              symptoms were alarming enough for the facility to call 911, where he was taken to
26              Cedars-Sinai Medical Center. The next day, he tested positive for the coronavirus.
27          •   There were no positive cases at the facility before the admission of this man from
28              New York, hereafter “Patient Zero.”


                                                   3
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 1       6. This decision to admit Patient Zero put at risk each of the existing residents and staff, for
 2   no other purpose than to make money. It was undertaken in knowing and conscious disregard of
 3   the risk of harm to the residents of SILVERADO SENIOR LIVING - BEVERLY PLACE and its
 4   staff.
 5       7. There was no emergency that required this man to fly from New York to Los Angeles for
 6   care (other than a desire to leave the city where the virus numbers were climbing at an alarming
 7   rate). There was nothing special about the care being provided at this assisted living facility that
 8   could not have been provided elsewhere (or at home). The man’s apparent need for care
 9   stemmed from “mild dementia” and he was moved into the third floor of SILVERADO SENIOR
10   LIVING - BEVERLY PLACE, which was designated for the most independent and high-
11   functioning residents.
12       8. Once he arrived at the facility, the man was not tested for coronavirus and he was not
13   quarantined. By the following day, he had symptoms alarming enough for the facility to call 911,
14   where he was taken to Cedars-Sinai Medical Center. The next day, he tested positive for the
15   coronavirus. There were no positive cases at the facility before the admission of Patient Zero.
16       9.   The 32-year-old nurse who cared for him on the night of his arrival, was infected and
17   died. Within roughly one month of his admission, 3 residents and one staff member died of
18   COVID-19.
19       10. The virus continued to spread, unabated, to at least 97 reported infections, and counting.
20   While the virus was spreading, family and private caregivers remained locked out. They could
21   not see their loved ones or advocate for care. With limited interactions over Facetime and by
22   phone, and by families communicating with one another, they learned that Defendants
23   intentionally concealed and made misrepresentations to residents and their families regarding
24   their loved one’s exposure to the virus, all the while failing to implement proper isolation and
25   screening procedures to protect residents from cross-contamination. Defendants also
26   intentionally concealed and made misrepresentations to its staff about the need for, and efficacy
27   of, safety and infection control protocols, which in turn left the workers unprotected and lead to
28   further spread.


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 1      11. The coronavirus itself poses a threat to life and safety. This case is not about that. Rather,
 2   this case is about corporate executives who were aware of the risk associated with this virus,
 3   knew what safety precautions were needed, enforced those safety precautions as to existing
 4   residents (banning visitors and private duty nurses) and then willfully chose to ignore their own
 5   policies and warnings by admitting someone who by definition should not have been allowed in
 6   the front door. He travelled here from a known hot spot without isolating. This is not a story
 7   about the unforeseeable, unpreventable tragedies of a deadly virus. Rather, this is a story about
 8   the calculated boardroom decision to admit new residents in the midst of the pandemic because it
 9   was profitable to do so, and the further decision not to protect residents and staff by
10   implementing proper screening and isolation protocols.
11      12. It was entirely foreseeable that COVID-19 would spread like wildfire through the halls of
12   SILVERADO SENIOR LIVING - BEVERLY PLACE, given that there were not enough staff to
13   isolate residents who exhibited symptoms or tested positive for the virus. The staffing burden
14   increased when the SILVERADO DEFENDANTS made the decision that private duty
15   caregivers, hired and paid privately by family members, could no longer come in the facility and
16   provide one-on-one care. Without the extra eyes, ears, and hands of family and private
17   caregivers, the entire care burden shifted to the SILVERADO SENIOR LIVING - BEVERLY
18   PLACE staff and they did not increase their staffing levels to meet the need. In fact, while the
19   virus was still spreading through May 2020, several staff members who worked selflessly
20   through the crisis out of a sense of devotion to the seniors they were caring for, were abruptly
21   laid off, likely because they were vocal about the lax safety and infection control protocols.
22      13. There are many heroes among our Country’s caregivers, community workers, and
23   healthcare providers, including the compassionate staff members at SILVERADO SENIOR
24   LIVING - BEVERLY PLACE who continued to care for their residents during a dark and scary
25   time. This case is not about them (although their service is to be commended and their devotion
26   likely saved lives). Rather, this case is about the greedy corporate executives who decided to
27   expose their own residents and staff to the deadly coronavirus in order to make even more profit
28   by admitting new residents during the pandemic, instead of focusing all their resources and


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 1   attention on caring for the residents they already had. They are not heroes. They have profited on
 2   the backs of the most vulnerable members of our community, senior citizens and their families,
 3   and on the backs of their overworked staff. The executives must be held accountable.
 4                                                PARTIES
 5       14. Plaintiff: JOE ANN CLACK was born on August 23, 1943. She was at all times relevant
 6   herein, an “elder” or “dependent adult” as defined by Welfare & Institutions Code section
 7   15610.23(b), and had physical limitations restricting her ability to carry out normal activities and
 8   protect her rights as discussed more fully infra. At all times relevant to this action herein, MS.
 9   CLACK was a resident of the State of California, County of Los Angeles.
10       15. Guardian ad Litem: JOE ANN CLACK brings this lawsuit by and through her daughter,
11   ZOANNE CLACK, as her Guardian ad Litem. Hereinafter, ZOANNE CLACK will be referred
12   to by her first name, “ZOANNE” in order to avoid confusion. An application for appointment of
13   ZOANNE as JOE ANN CLACK’s Guardian ad Litem is filed concurrently herein.
14       16. Defendant LICENSEES: Defendants SILVERADO SENIOR LIVING
15   MANAGEMENT, INC. and SUBTENANT 330 NORTH HAYWORTH AVENUE, LLC
16   (“LICENSEES”) are the co-licensees of SILVERADO SENIOR LIVING - BEVERLY PLACE
17   (hereinafter “FACILITY”), a Residential Care Facility for the Elderly (“RCFE”) operating at 330
18   N. Hayworth Avenue, Los Angeles, CA 90048.
19       17. SILVERADO SENIOR LIVING - BEVERLY PLACE is part of the Silverado brand – a
20   national chain operating facilities in seven states: California, Illinois, Texas, Utah, Virginia,
21   Washington, Wisconsin, twenty of which locations are in California. Silverado boasts “world-
22   class care that is recognized worldwide for an approach blending compassion and clinical
23   excellence” 2 for its residents, promising to provide “appropriate levels of care, amenities and
24   programming to maximize quality of life and provide the highest levels of dignity possible.” 3
25
26
     2
27     Silverado Communities, Silverado, <https://www.silverado.com/get-started/silverado-communities/> [as
     of Jun. 26, 2020].
     3
28     Are There Limits to the Care Silverado Can Provide, Silverado, <https://www.silverado.com/memory-
     care/are-there-limits-to-the-care-silverado-can-provide/> [as of Jun. 26, 2020].

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 1      18. Defendant SILVERADO SENIOR LIVING, INC.: Upon information and belief,
 2   SILVERADO SENIOR LIVING, INC. is and was at all times relevant herein, the parent
 3   corporation of the Silverado enterprise. SILVERADO SENIOR LIVING, INC. exercises control
 4   over the management and policies of the facilities in the Silverado chain in California and other
 5   states. SILVERADO SENIOR LIVING, INC. controls the provision of administrative, legal
 6   services, and risk management services to each of its facilities, including SILVERADO SENIOR
 7   LIVING - BEVERLY PLACE.
 8      19. RCFE LICENSEE Duties: An RCFE licensee is responsible for compliance with
 9   licensing requirements and the organization, management, operation, and control of the RCFE
10   facility. The general duties of a licensee are set forth in Title 22 of the California Code of
11   Regulations, section 87100 et seq. Certain duties are non-delegable including the responsibility
12   for compliance with regulations and the management and control of the RCFE. Delegation of
13   authority by a licensee shall not diminish the responsibility of the licensee. Therefore, even
14   where a licensee delegates operational control to another person or entity, that licensee remains
15   directly liable for management, operation, and control of the facility. (Cal. Code Regs., tit. 22, §
16   87205.)
17      20. RCFEs are licensed and inspected by Department of Social Services (DSS) Community
18   Care Licensing. RCFEs are non-medical facilities and are not required to have nurses, certified
19   nursing assistants, or doctors on staff. These facilities are for people who are unable to live by
20   themselves and who need custodial care and services, but do not need 24-hour nursing care. The
21   types of services usually provided by RCFEs include room and board, activities, transportation,
22   medication administration, monitoring and observation for changes in condition, and ensuring
23   access to medical care. RCFEs must meet care, safety, and other standards mandated by the
24   State of California in Health & Safety Code section 1569 et seq. and Title 22 of the California
25   Code of Regulations, section 87100 et seq.
26      21. SILVERADO SENIOR LIVING MANAGEMENT, INC. and SUBTENANT 330
27   NORTH HAYWORTH AVENUE, LLC (as the licenses) were subject to the requirements of
28   federal and state laws and regulations that govern the operation of an RCFE in California. In


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 1   connection with its operation of SILVERADO SENIOR LIVING - BEVERLY PLACE,
 2   SILVERADO SENIOR LIVING MANAGEMENT, INC. and SUBTENANT 330 NORTH
 3   HAYWORTH AVENUE, LLC have a substantial and ongoing caretaking and custodial
 4   relationship involving ongoing responsibility for the basic needs of its residents, including MS.
 5   CLACK.
 6      22. Defendant LOREN SHOOK: Defendant LOREN SHOOK is and at all relevant times
 7   was the President, Chief Executive Officer, and Chairman of the Board at SILVERADO
 8   SENIOR LIVING MANAGEMENT, INC. He is also a director and managing agent of
 9   SILVERADO SENIOR LIVING, INC.
10      23. Defendant JASON RUSSO: At all times relevant herein, JASON RUSSO was the
11   Certified Administrator of SILVERADO SENIOR LIVING - BEVERLY PLACE. An
12   administrator is the person designated by the licensee to act on behalf of the licensee in the
13   overall management of the facility. (Cal. Code Regs., tit. 22, § 87101(a)(1).) All RCFE facilities
14   are required to have a certified administrator. (Cal. Code Regs., tit. 22, § 87405.) That
15   administrator shall have sufficient freedom from other responsibilities and shall be on the
16   premises a sufficient number of hours to permit adequate attention to management and
17   administration of the facility. The administrator must meet certain minimum qualifications
18   including, but not limited to, knowledge of the requirements for providing care and supervision
19   appropriate to residents and knowledge of and ability to conform to the applicable laws, rules
20   and regulations governing RCFEs. An administrator has to complete a 40-hour training course
21   which includes classroom instruction on the laws, regulations, policies and procedural standards
22   impacting operations of an RCFE, and more specifically, admission, retention and assessment
23   procedures. This includes instruction on the laws and regulations governing restricted and
24   prohibited conditions, assessment and documentation of changes of condition, and ensuring that
25   a facility only accepts and retains residents whose needs can be met in the facility. The
26   administrator has the responsibility and authority to carry out facility policies consistent with the
27   laws and regulations governing RCFEs, including admission, retention and assessment
28   procedures. Further an administrator of an RCFE has the responsibility to administer the facility


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 1   in accordance with regulations and established policies and programs and to provide or ensure
 2   the provision of services to residents with appropriate regard for the resident’s physical and
 3   mental well-being and needs, including those services identified in the residents’ preadmission
 4   appraisal. These are well recognized administrator qualifications and responsibilities, set forth
 5   in Cal. Code Regs., tit. 22, §§ 87405 and 87406. According to SILVERADO SENIOR LIVING -
 6   BEVERLY PLACE’s website, “The Administrator oversees and leads all aspects of the
 7   community’s operations. From overseeing daily functions, personnel and activities to spending
 8   time each day with residents and families, Administrators are truly involved in every part of
 9   making sure their community delivers topnotch care.” 4
10       24. Unity of Interest: Defendants are alter-egos of one another and form part of a single
11   enterprise under the Silverado brand. This enterprise is a network of licensees, shell entities and
12   holding companies, and management entities. Defendants, and each of them, are commonly
13   owned and controlled, sharing common officers, directors, and managing agents, including
14   LOREN SHOOK, Matthew McQueen, and Thomas Croal. Defendants make and approve key
15   decisions concerning SILVERADO SENIOR LIVING - BEVERLY PLACE’s day-to-day
16   operations, such as policies, staffing levels, employee training, hiring and firing, budgets and
17   related issues, which decisions and directives, on information and belief, were made at the
18   direction of and/or for the benefit of SILVERADO SENIOR LIVING, INC.
19       25. LOREN SHOOK and JASON RUSSO were actively engaged in day-to-day operations of
20   SILVERADO SENIOR LIVING - BEVERLY PLACE. They determined staffing ratios and
21   made hiring, firing and training decisions. They were also in charge of allocation of facility
22   resources, and set the facility’s annual budget, including the budget for personnel. They oversaw
23   pre-admission appraisals and deciding whether someone could be admitted or retained in the
24   facility based on licensing regulations, limitations on the types of services provided, limitations
25   on the types of residents who can be admitted or retained, and limitations in numbers and
26   qualifications in staff.
27
     4
28    Community Team, Silverado, <https://www.silverado.com/memory-care/the-community-team/> [as of
     Dec. 7, 2020].

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 1       26. Defendants, and each of them, were jointly responsible to ensure that SILVERADO
 2   SENIOR LIVING - BEVERLY PLACE is and was operated in full compliance with federal and
 3   state laws and regulations governing operation of a RCFE, and for all aspects of the organization,
 4   management, operation and control of SILVERADO SENIOR LIVING - BEVERLY PLACE.
 5       27. Upon information and belief, Defendants siphon funds and assets away from their
 6   facilities, including SILVERADO SENIOR LIVING - BEVERLY PLACE, through payment of
 7   management fees and other related-party transactions. Defendants indemnify, guarantee and
 8   subsidize one another and divert money that should be going to resident care into the pockets of
 9   their owners.
10       28. Injustice will result if the Court does not disregard the fiction of the separate entities.
11   Defendants’ fractured ownership and management structure is deliberately constructed in order
12   to shield themselves from liability and to carry out their single enterprise with financial
13   impunity. Defendants deliberately conceal and misrepresent the identity of the responsible
14   ownership, management, and financial interests of SILVERADO SENIOR LIVING -
15   BEVERLY PLACE in order to hide the flow of money and try to evade responsibility for their
16   misconduct. If Defendants are not treated as a single enterprise or alter egos of each other, a
17   severe injustice will result.
18       29. Advance Knowledge/Authorization/Ratification: Because of the unity of interest and
19   common ownership and control alleged herein, the acts of the LICENSEES were done pursuant
20   to policies, practices, procedures, written or otherwise, established and implemented by and with
21   the advance knowledge, acquiescence or subsequent ratification of SILVERADO SENIOR
22   LIVING, INC., LOREN SHOOK, JASON RUSSO and/or Defendants’ officers, directors and
23   managing agents.
24       30. LOREN SHOOK personally engaged in policy-making at SILVERADO SENIOR
25   LIVING - BEVERLY PLACE including, but not limited to, the visitation ban and the ban on
26   outside private duty companions. On information and belief, LOREN SHOOK also personally
27   adopted, approved and ratified the decision to admit Patient Zero with knowledge he came from
28   an area of outbreak in New York and knowing he was not properly screened and isolated and


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 1   knowing his workers were not adequately protected from disease if he brought coronavirus with
 2   him across the country.
 3       31. Defendants’ officers, directors and managing agents, and each of their tortious acts and
 4   omissions, as alleged herein, were done in concert and with each other and pursuant to a
 5   common design and agreement to accomplish a particular result, namely maximizing profits
 6   from the operation of the FACILITY. Defendants’ officers, directors and managing agents and
 7   each of them implemented a business plan to underfund, understaff, undertrain, and under-
 8   supervise the staff at the FACILITY.
 9       32. Plaintiff’s injuries arise out of the organization, management, operation, and control of
10   SILVERADO SENIOR LIVING - BEVERLY PLACE by Defendants in their capacity as
11   owner/operators/managers. Defendants, and each of them, therefore share joint responsibility for
12   Plaintiff’s injuries.
13       33. Doe Allegations: To the extent any entity, person or company other than the defendants
14   named herein owned, operated, managed, supervised, controlled, maintained, or were otherwise
15   responsible for the business activities of SILVERADO SENIOR LIVING - BEVERLY PLACE,
16   the identity of such persons or entities are unknown to Plaintiff and Plaintiff will seek leave to
17   amend when those identities are ascertained. Plaintiff sues those persons/entities as DOES 1
18   through 10. Plaintiff is informed and believes, and thereon alleges, that each of the defendants
19   designated as a DOE is responsible in some manner for the events and happenings herein
20   referred to and thereby legally caused the injuries and damages herein alleged. Such DOES
21   would include officers, directors, controlling shareholders, partners, parent and/or sister
22   companies, governing board members, and persons in de facto control of healthcare, operators,
23   or employees of SILVERADO SENIOR LIVING - BEVERLY PLACE.
24       34. On information and belief, DOES 11 through 20 may be staff or contracted personnel of
25   SILVERADO SENIOR LIVING - BEVERLY PLACE, including physicians, physician's
26   assistants, nurse practitioners, licensed nurses, aides, social workers, business office personnel,
27   or other administrative or clinical personnel including persons directly or indirectly responsible
28   for provision of care, persons having made representations or warranties to Plaintiff, and persons


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 1   acting in concert with other Defendants. The identities of such persons or entities are unknown to
 2   Plaintiff and Plaintiff will seek leave to amend when those identities are ascertained. Plaintiff is
 3   informed and believes, and thereon alleges, that each of the defendants designated as a DOE is
 4   responsible in some manner for the events and happenings herein referred to and thereby legally
 5   caused the injuries and damages herein alleged.
 6      35. On information and belief, DOES 21 through 25 include persons directly or indirectly
 7   responsible for provision of care to MS. CLACK, including but not limited to physicians,
 8   medical groups, managed care organizations, acute care hospitals, home health agencies, visiting
 9   nurses, therapists, or other ancillary care providers who saw, examined, evaluated, observed or
10   treated or failed to treat MS. CLACK and/or persons having made representations or warranties
11   to or from the Department of Social Services, the Department of Public Health, the Long Term
12   Care Ombudsman, Adult Protective Services, Cedars Sinai Medical Center, SILVERADO
13   SENIOR LIVING - BEVERLY PLACE, and/or anyone purporting to act on behalf of or concert
14   with these persons or entities. The identities of such persons or entities are unknown Plaintiff and
15   Plaintiff will seek leave to amend when those identities are ascertained. Plaintiff is informed and
16   believes, and thereon alleges, that each of the defendants designated as DOE is responsible in
17   some manner for the events and happenings herein referred to and thereby legally caused the
18   injuries and damages herein alleged.
19                                      JURISDICTION AND VENUE
20      36. This Court has jurisdiction over the cause of action asserted.
21      37. The acts alleged in this complaint occurred in the County of Los Angeles.
22      38. The Defendants and each of them have sufficient minimum contacts in California based
23   on their residency in California or otherwise intentionally avail themselves of the California
24   market though their provision of services in the County of Los Angeles, so as to render them
25   essentially at home in California and making the exercise of jurisdiction by the California courts
26   consistent with traditional notions of fair play and substantial justice.
27      39. Venue is proper in the County of Los Angeles under Code of Civil Procedure § 395(a)
28   based on the facts, without limitation, that this Court is a court of competent jurisdiction, that the


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 1   defendants reside in the County of Los Angeles, and that all of the events described occurred in
 2   the County of Los Angeles.
 3                                               FACTUAL BACKGROUND
 4       A. Coronavirus Background
 5       40. On January 20, 2020, the first case of coronavirus infection in the United States appeared.
 6   On March 4, 2020, California’s Governor, Gavin Newsom, declared a state of emergency in
 7   California. On the same day, the Los Angeles County Board of Supervisors and the Los Angeles
 8   County Department of Public Health similarly declared a local and public health emergency in
 9   the County of Los Angeles. On March 7, 2020, Governor Andrew Cuomo declared a State of
10   Emergency in the state of New York.
11       41. It quickly became known that the elderly, and particularly those with underlying health
12   problems were most vulnerable to the coronavirus. The CDC, CDPH, and CDSS all put forth
13   requirements, and guidelines for nursing homes and assisted living providers/RCFEs to promptly
14   take reasonable measures to protect their patients from exposure to the coronavirus. Such
15   measures include testing of residents and employees, restricting visitors, requiring employees to
16   use face masks, gloves, and gowns, and isolating employees and residents who are suspected or
17   known carriers of the virus.
18       42. Media coverage of the coronavirus pandemic was everywhere, and certain parts of the
19   country and the world were thrust to the forefront. Starting in Wuhan, China, virus coverage
20   quickly shifted to Italy, where the entire country was placed on lockdown on March 9 due to an
21   exploding number of cases that left Italy’s hospitals in a state of wartime triage. 5
22       43. The next global hotspot to emerge was New York. On March 10, New York ordered a
23   one-mile radius containment zone in Westchester County's New Rochelle – less than 20 miles
24   from Manhattan. On March 16, 2020, Governor Cuomo issued an executive order closing all
25   schools statewide, limiting recreational and social gatherings to 50 people, and closing
26   restaurants, bars, movie theaters, gyms and casinos. On March 17, 2020, Mayor Bill de Blasio
27
     5 Mounk, The Extraordinary Decisions Facing Italian Doctors, The Atlantic (Mar. 11, 2020)

28   <https://www.theatlantic.com/ideas/archive/2020/03/who-gets-hospital-bed/607807/> [as of Nov. 19, 2020].



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 1   announced that the city should prepare for a possible shelter-in-place order. By March 18, the
 2   number of cases in New York statewide had spiked to 4,152. On March 19, Mayor Bill de Blasio
 3   reported “an explosion of cases here in New York City,” adding that the city has been ramping
 4   up its testing in recent days. 6 On March 20, Cuomo ordered all nonessential businesses closed
 5   statewide.
 6       B. COVID-19 Precautions at SILVERADO SENIOR LIVING - BEVERLY PLACE
 7       44. Meanwhile, at SILVERADO SENIOR LIVING - BEVERLY PLACE, Defendants began
 8   making representations that they too were taking the virus seriously and implementing
 9   precautions as recommended by the CDC and CDPH. On March 14, 2020, residents at
10   SILVERADO SENIOR LIVING - BEVERLY PLACE received a mass email from JASON
11   RUSSO limiting visitors and requiring strict screening for family members. The message stated:
12            [T]hrough an enormous abundance of caution for our residents that our families
13            postpone all visits for the next 2 weeks unless it is absolutely necessary. We are
              putting our residents at significant risk by exposing them to what may come
14            through the front door with a visit. Our goal is to reduce exposure and we can
              only do that if we postpone the visit. I do appeal to your common sense and ask that
15
              you think first about the safety of your loved one and all the residents at Beverly
16            Place.

17            (emphasis added)

18       45. The next day, March 15, 2020, JASON RUSSO sent out another email stating that private

19   duty companions hired by families were henceforth restricted.

20       C. Admission of Patient Zero

21       46. Meanwhile, although SILVERADO SENIOR LIVING - BEVERLY PLACE closed its

22   doors to family and friends from visiting, as of March 19, 2020, Defendants were still allowing

23   the admission of new residents.

24       47. On March 19, 2020, Patient Zero was flown in from New York City and admitted to the

25   independent wing of the facility. No isolation measures were implemented and Patient Zero was

26   allowed to roam freely throughout the facility unattended.

27
     6 Feuer, et al., Coronavirus: NYC has 3,615 Confirmed Cases, Including an Inmate at Rikers Island, Mayor de Blasio Says,
28   CNBC (Mar. 19, 2020 <https://www.cnbc.com/2020/03/19/new-york-city-has-3615-confirmed-coronavirus-cases-including-an-
     inmate-at-rikers-island-mayor-de-blasio-says.html> [as of Nov. 19, 2020].


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 1       48. The next day, March 20, 2020, Patient Zero was sent to the hospital due to his symptoms.
 2   The following day, he tested positive for COVID-19, unbeknownst to anyone else at the facility.
 3       49. SILVERADO DEFENDANTS concealed Patient Zero’s condition, and the fact that
 4   Patient Zero had exposed other residents at the facility. Meanwhile, MR. RUSSO and MR.
 5   SHOOK continued to reassure residents and their families that they were doing “everything in
 6   their power” to manage the crisis and keep residents safe. In a letter to families of SILVERADO
 7   SENIOR LIVING - BEVERLY PLACE residents dated March 21, 2020 and emailed around
 8   7:14 PM, LOREN SHOOK acknowledged: “We fully understand that in light of an
 9   asymptomatic incubation period and the presence of mild and asymptomatic disease already
10   endemic in the larger community, COVID-19 will get into our memory care communities.”
11   When he wrote this, he already knew Patient Zero was positive, but he did not share that. He
12   continues, “we have and will be taking significant precautions and continuing to make
13   adjustments to do all we can to limit our resident’s exposure and flatten the curve.” The next
14   morning, on March 22, 2020 at approximately 9AM, MR. SHOOK distributed an email again to
15   the families of SILVERADO SENIOR LIVING - BEVERLY PLACE, stating, “As we
16   anticipated with my last communication, we learned tonight that a resident who recently moved
17   into The Loft has tested positive for Covid-19”. The letter falsely claims that Patient Zero was
18   confined to his room since he was admitted to the facility.
19       50. In the days and weeks that followed, at least 58 residents and 39 employees have since
20   come down with the virus, at least fourteen of whom have died. 7
21       D. MS. CLACK
22       51. MS. CLACK was admitted to SILVERADO SENIOR LIVING - BEVERLY PLACE on
23   February 22, 2020. At all times relevant herein, she suffered from dementia.
24       52. On or about April 2, 2020, MS. CLACK started exhibiting symptoms consistent with
25   COVID-19 – including coughing, shortness of breath, and low oxygen levels.
26
27
     7 COVID-19 Positive Cases in Adult and Senior Care Facilities, COVID-19 Information and Resources,

28   <https://www.cdss.ca.gov/inforesources/cdss-programs/community-care-licensing/covid-19-information-and-resources> [as of
     Nov. 19, 2020].


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 1       53. By the following day, MS. CLACK’s condition had declined even further. Her oxygen
 2   levels were at 80%, she was extremely weak, and her chest x-ray results showed indications of
 3   pneumonia.
 4       54. MS. CLACK was taken to Cedars Sinai Medical Center, where she was administered
 5   oxygen and treated with hydroxychloroquine. However, she continued to decline over the next
 6   few days, and her condition became so dire that her doctor advised ZOANNE she was unlikely
 7   to survive. ZOANNE was granted end of life privileges to visit her mother and started making
 8   funeral arrangements.
 9       55. MS. CLACK remained hospitalized at Cedars Sinai Medical Center for the next few
10   weeks, as she battled the virus which ravaged her system. During that time, she suffered greatly.
11   MS. CLACK had to undergo an emergency thoracentesis and chest tube placement to empty
12   fluid from her lung, as well as a blood infusion to combat the low platelet levels that resulted
13   from her COVID treatment.
14       56. Miraculously, MS. CLACK survived. By May 22, 2020, she had recovered sufficiently to
15   be transferred to a rehabilitation facility. However, she continues to suffer the long-term effects
16   of her illness to this day.
17                                     FIRST CAUSE OF ACTION
18   (Elder Abuse and Neglect by Plaintiff JOE ANN CLACK, by and through her Guardian ad
19                         Litem, ZOANNE CLACK, as against all Defendants)
20       57. Plaintiff hereby incorporates by reference Paragraph 1 through 56 of this Complaint as
21   though fully set forth herein.
22       58. Elder: MS. CLACK, at all relevant times, was over the age of 65 and thus an "elder" as
23   that term is defined in Welfare and Institutions Code § 15610.27.
24       59. Substantial Caretaking and Custodial Relationship: By virtue of her residence and
25   reliance on staff for assistance with all activities of daily living, Defendants, and each of them,
26   were in a substantial caretaking and custodial relationship with MS. CLACK while she was a
27   resident at SILVERADO SENIOR LIVING - BEVERLY PLACE. As such, Defendants, and
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 1   each of them, had responsibility for meeting MS. CLACK's basic needs including protection
 2   from the health and safety hazard posed by COVID-19.
 3      60. Duties: Defendants, and each of them, owed a duty to MS. CLACK to provide care and
 4   services that met her needs and were in accordance with the laws and regulations governing
 5   RCFEs, including but not limited to:
 6      (a) The duty to accept and retain only residents for whom they could provide adequate care
 7          (Cal. Code Regs., tit. 22, §§ 87582, 87589(a)(4));
 8      (b) The duty to reappraise residents who have significant physical and mental changes of
 9          condition (Cal. Code Regs., tit. 22, § 87587(a));
10      (c) The duty to notify family and physician of significant changes in a resident's health and
11          document those changes (Cal. Code Regs., tit. 22, §§ 87572(a)(8), 87587(b) and (c));
12      (d) The duty to maintain complete and current records of each resident (Cal. Code Regs., tit.
13          22, § 87506);
14      (e) The duty to provide adequate staffing to meet residents' needs (Cal. Code Regs., tit. 22, §
15          87565(a));
16      (f) The duty to provide adequate assistance and care to meet residents' needs as identified in
17          the pre-admission appraisal and for other basic services including safe accommodations
18          and regular observation of physical and mental conditions (Cal. Code Regs., tit. 22, §
19          87578(a), 87590(d) and (f));
20      (g) The duty to timely transfer residents to a higher level of care when they can no longer
21          receive adequate care at a residential care facility (Cal. Code Regs., tit. 22, §
22          87589(a)(4));
23      (h) The duty to regularly observe residents for changes in physical, mental, emotional, and
24          social functions and to provide appropriate assistance when such observation reveals
25          unmet needs (Cal. Code Regs., tit. 22, § 87591);
26      (i) The duty to treat residents at all times as individuals, with dignity and respect (Cal. Code
27          Regs., tit. 22, § 87572(a));
28


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 1      (j) The duty to provide and maintain safe accommodations (Cal. Code Regs., tit. 22, §§
 2          87572(b), 87577(d));
 3      (k) The duty to arrange for appropriate medical care to meet the conditions and needs of
 4          residents, including emergency care (Cal. Code Regs., tit. 22, §§ 87575(a)(1), (a)(2), and
 5          (f)); and
 6      (l) The duty to immediately call 911 if an injury or other circumstance has resulted in an
 7          imminent threat to a resident's health (Cal. Code Regs., tit. 22, § 87575(g)).
 8      61. Neglect: Defendants, and each of them, committed elder neglect as defined in the Elder
 9   Abuse and Dependent Adult Civil Protection Act (Welfare and Institutions Code section
10   15610.57) by failing to protect MS. CLACK from health and safety hazards. Defendants failed
11   to protect MS. CLACK from health and safety hazards when they allowed admission of a new
12   resident, who would fly here on a commercial airplane from a location known to have an
13   outbreak of COVID-19, to enter the facility without implementing appropriate isolation,
14   screening, or protective measures.
15      62. Reckless conduct and conduct undertaken in conscious disregard of a high
16   probability of injury: The conduct of Defendants was reckless and undertaken in conscious
17   disregard of the high probability of injury to MS. CLACK. The misconduct and neglect
18   described herein was undertaken in blatant disregard of recommendations by the CDC, the
19   CDSS, health officials and their own internal recommendations, demonstrating a callous
20   indifference to the outcome. The breaches were undertaken in an environment (i.e. care for
21   vulnerable disabled and elderly persons) where everyone involved in caring for these folks
22   knows of the high risk of death this disease poses to the elderly and immunocompromised.
23      63. Defendants’ willful failure to protect MS. CLACK from health and safety hazards, as
24   described, constitutes recklessness, malice, oppression, and/or fraud within the meaning of
25   Welfare & Institutions Code § 15657.
26      64. Fraud in the Commission of Elder Neglect: Defendants concealed the fact that new
27   residents would be admitted after the facility shut down to families and visitors. Defendants also
28   concealed Patient Zero’s condition from their staff, residents, and residents’ families and in


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 1   doing so concealed the fact that they had been exposed to the virus, all the while communicating
 2   that they were taking the virus seriously and taking precautions to protect residents from its
 3   spread. MS. CLACK and her family had no way of knowing that Patient Zero was being flown
 4   in, or of his medical history and symptoms. Rather, they relied on Defendants to keep MS.
 5   CLACK and the other residents safe. Had Defendants reported to MS. CLACK and her family
 6   members, they would have been in the position to make alternative arrangements to provide a
 7   safe and exposure-free environment for MS. CLACK.
 8      65. Corporate Directives and Understaffing: Defendants engaged in direct neglect by
 9   making a conscious choice to admit Patient Zero, as described herein. Defendants also engaged
10   in direct neglect by making a choice to understaff the facility, in both quantity and quality of
11   nursing personnel. The decision to understaff was made at the management level by the
12   SILVERADO DEFENDANTS in order to increase the profitability of the RCFE, in conscious
13   disregard of resident care needs. Defendants, together with their directors, officers and
14   managing agents, conceived of and implemented a plan to increase business profits at the
15   expense of residents like MS. CLACK, and other FACILITY residents. Integral to this plan
16   was the practice and pattern of Defendants continuing to admit new residents, but not increasing
17   staffing levels to implement safety and infection protocols and keep existing and new residents
18   safe from the virus. DEFENDANTS instead chose to staff the facility with an insufficient
19   number of care personnel, many of whom were not properly trained nor given the proper
20   protective equipment and sanitation supplies to keep themselves and the residents safe. The
21   understaffing and lack of training and supplies was designed to reduce labor costs, equipment
22   and supply costs, and to increase profits, and resulted in the neglect of many residents of the
23   facilities including, MS. CLACK. This corporate policy to not maintain sufficient staffing, not
24   provide adequate training, and not to provide equipment and supplies for infection control, as
25   required by law, was developed and implemented with the conscious disregard for the
26   likelihood of physical harm and injury to those who it is in the business to protect, including
27   MS. CLACK, who did in fact suffer as a direct consequence of Defendants’ proprietary
28   interests, which it placed above that of her and other residents.


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 1      66. As a direct and proximate result of DEFENDANTS’ misconduct, MS. CLACK
 2   contracted the coronavirus, and she needlessly suffered great harm and injury.
 3      67. As a proximate result of the abuse and neglect of MS. CLACK by Defendants, Plaintiff
 4   was caused to incur medical expenses and other related expenses, the full nature, extent and
 5   amount of which are not yet known to Plaintiff, and leave is requested to amend this Complaint
 6   when the same are ascertained to conform to proof at the time of the trial.
 7      68. As a proximate result of the abuse and neglect of MS. CLACK by Defendants, MS.
 8   CLACK suffered fear, anxiety, humiliation, physical pain and discomfort, and emotional
 9   distress, all to her general damage in a sum to be established.
10      69. By the conduct, acts and omissions of Defendants, as alleged above, they are guilty of
11   recklessness, fraud, oppression, and/or malice. The specific facts set forth above show a
12   disregard of the high probability that MS. CLACK would be injured. In addition to special
13   damages, Plaintiff is therefore entitled to an award of the reasonable attorney’s fees and costs
14   incurred in prosecuting this case as well as MS. CLACK’s pain and suffering and punitive
15   damages pursuant to Welfare & Institutions Code section 15657 and Civil Code section 3294.
16      70. By the conduct, acts and omissions of Defendants, as alleged above, they have engaged
17   in unfair business practices directed at the elderly. MS. CLACK is therefore entitled to treble
18   damages pursuant to Civil Code section 3345.
19                                    SECOND CAUSE OF ACTION
20      (Negligence by Plaintiff JOE ANN CLACK, by and through her Guardian ad Litem,
21                             ZOANNE CLACK, as against all Defendants)
22      71. Plaintiff incorporates herein by reference paragraphs 1 through 70 of this Complaint as
23   though fully set forth.
24      72. The SILVERADO DEFENDANTS owed a duty of care to MS. CLACK to act
25   reasonably in the discharge of their duties including but not limited to hire, retain, and train
26   sufficient staff to provide her with necessary care and services based on assessment and
27   recognition of her individualized care needs; a duty to protect her from health and safety hazards;
28


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 1   a duty to observe and report changes of condition to family and physicians; and a duty to ensure
 2   she does not suffer needlessly.
 3         73. The SILVERADO DEFENDANTS breached their duties as described herein.
 4         74. As a proximate result of the negligent conduct as alleged against SILVERADO
 5   DEFENDANTS and breaches of the duty owed to plaintiff and decedent, and breaches of the
 6   standard of care owed, MS. CLACK suffered grave personal injury and needless suffering, as
 7   described herein, as well as special damages, according to proof.
 8         75. Pleading in the alternative, as a proximate result of the wrongful and neglectful conduct
 9   of the SILVERADO DEFENDANTS, including but not limited to the allegations of neglect, and
10   acts or omissions undertaken with recklessness, malice, oppression and/or fraud, MS. CLACK
11   suffered grave personal injury and needless suffering, as described herein, as well as special
12   damages, according to proof.
13                                          RELIEF REQUESTED
14   On the First Cause of Action: Elder Abuse and Neglect
15         1. For general damages in an amount in excess of the minimum jurisdiction of this court;
16         2. For special damages including past hospital, medical, professional and incidental
17              expenses, according to proof;
18         3.   For attorney’s fees and costs pursuant to Welfare & Institutions Code § 15657 and
19              according to proof;
20         4. For exemplary damages pursuant to Welfare & Institutions Code § 15657 and Civil Code

21              § 3294;

22         5. For treble damages pursuant to Civil Code § 3345;

23   On the Second Cause of Action: Negligence

24         1. For general damages in an amount in excess of the minimum jurisdiction of this court;

25         2. For special damages including past hospital, medical, professional and incidental

26              expenses, according to proof;

27   ///

28   ///


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 1   On all counts
 2      1. For costs of suit;
 3      2. Whatever further relief the court may find just and proper.
 4
 5   Dated: December 15, 2020                           JOHNSON MOORE

 6
                                                    By: _______________________
 7                                                      Jody C. Moore
 8                                                      Joanna A. Hutchins
                                                        Attorneys for Plaintiff
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Electronically FILED by Superior Court of California, County of Los Angeles on 12/15/2020 10:59 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                            Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 61 of 108 Page ID #:61
                                                                                       20STCV47881
                                                                                                                                                                                      CM-010
            ATTORN EY OR PARTY WITHOU T ATTORN EY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
          - Jody C. Moore Esq.                                                                             19260 1
            JOHNSON MOORE
            100 E. Thousand Oaks Blvd., Suite 229
            Thousand Oaks, California 91360
                     TELE PHONE NO ..   ~805) 988-3 661                      FAX NO.   (805) 494-4777
            ATTORNEY FOR (Name)          laintiffs
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF                    Los Angeles
                  STREET ADDR ESS:      111 N . Hill St.
                 MAILING ADDRESS:

                CITY AND ZIP CODE:      Los Angeles, 90012
                      BRANCH NAM E:     Mosk
             CASE NAME :
             Clack vs. Silverado Senior Living, Inc. et al.
                                                                                                                                  CASE NUMBE R:
                 CIVIL CASE COVER SHEET                                          Complex Case Designation
           [ZJ       Unlimited        Limited D                   Counter  D           Joinder      D
                     (Amount          (Amount
                                                                                                    JUDGE:
                     demanded         demanded is          Filed with first appearance by defendant
                     exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                                          Items 1-6 below must be completed (see instructions on page 2).
           1. Check one box below for the case type that best describes this case:
               Auto Tort                                                 Contract                                        Provisionally Complex Civil Litigation
               D         Auto (22)                                       D       Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
               D         Uninsured motorist (46)                         D       Rule 3.740 collections (09)             D       Antitrust/Trade regulation (03)
               Other Pl/PD/WO (Personal Injury/Property                  D       Other collections (09)                  D       Construction defect (10)
               Damage/Wrongful Death) Tort                               D       Insurance coverage (18)                 D       Mass tort (40)
               D     Asbestos (04)                                       D     Other contract (37)                       D       Securities litigation (28)
               D         Product liability (24)                          Real Property                                   D       Environmental/Toxic tort (30)
               D         Medical malpractice (45)                        D      Eminent domain/I nverse                  D       Insurance coverage claims arising from the
               [ZJ       Other Pl/PD/W O (2 3)                                  condemnation (14)                                above listed provisionally complex case
                Non-Pl/PD/WO (Other) Tort                                D       Wrongful eviction (33)                          types (4 1)

               D         Business to rt/unfair business practice (07)    D Other real property (26)                      Enforcement of Judgment
               D         Civil rights (08)                            Unlawful Detainer                                  D       Enforcement of judgment (20)
               D         Defamation (13)                                 D Commercial (3 1)                              Miscellaneous Civil Complaint
               D         Fraud (16)                                      D       Residential (32)                        D       RICO (27)
               D         Intellectual property (19)                      D       Drugs (38)                              D       Other complaint (not specified above) (42)
               D         Professional negligence (25)                    Judicial Review                                 Miscellaneous Civil Petition
               D    Other non-Pl /PD/W O tort (35)                       D      Asset forfeiture (05)                    D       Partnership and corporate governance (2 1)
               Employment                                                D      Petition re: arbitration award (11)
                                                                                                                         D       Other petition (not specified above) (43)
               D         Wrongful termination (36)                       D       Writ of mandate (02)
               D         Other employment (15)                           D       Other judicial review (39)
           2. This case LJ is        LLJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
                a.   D      Large number of separately represented parties                    d.   D    Large number of witnesses
                b.   D      Extensive motion practice raising difficult or novel              e.   D    Coordination with related actions pending in one or more courts
                            issues that will be time-consuming to resolve                               in other counties, states, or countries, or in a federal court
                c.   D      Substantial amount of documentary evidence                        f.D       Substantial postjudgment judicial supervision

           3. Remedies sought (check all that apply): a.[Z] monetary                        b. D nonmonetary; declaratory or injunctive relief                           c.   [Z] punitive
           4. Number of causes of action (specify): 2
           5. This case          D
                                is   [Z] is not a class action suit.
           6. If there are any known related cases, file and serve a notice of related case. (You mar.
          Date: December 15, 2020
          Joanna A. Hutchins
                                              (TYPE OR PRINT NAME )
                                                                                            NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220. ) Failure to file may result
               in sanctions.
             • File this cover sheet in addition to any cover sheet required by local court rule.
             • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding .
             • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                                       15age 1 of 2
           Form Adopted for Mandatory Use                                                                                             Cal. Rules of Court, rules 2.30, 3.220, 3.400- 3.403, 3.740;
             Judicial Council of California
                                                                         CIVIL CASE COVER SHEET                                               Cal. Standards of Judicial Administration , std . 3.10
              CM-010 [Rev . July 1, 2007]                                                                                                                                   www.courtinfo. ca.gov
                                                                                                                                                                              Ex. A-061
                  Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 62 of 108 Page ID #:62
                                                                                                                                         CM-010
                                       INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel , or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading . A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unla wful detainer            Construction Defect (10)
          case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach-Seller                 Securities Litigation (28)
          arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
Other Pl/PD/WO (Personal Injury/                              Warranty                                         (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                    case type listed above) (41 )
Tort                                                 Collections (e.g. , money owed , open            Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                          County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                             Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                           domestic relations)
          toxic/environmental) (24)                       complex) (18)                                        Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                            Other Coverage                                           (not unpaid ta xes)
                Physicians & Surgeons                Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                               Other Enforcement of Judgment
                                                 Real Property                                                       Case
     Other Pl/PD/WO (23)
          Premises Liability (e.g. , slip            Eminent Domain/I nverse                          Miscellaneous Civil Complaint
                and fall )                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WO            Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                              above) (42)
                (e.g. , assault, vandalism )         Other Real Property (e.g. , quiet title) (26)
          Intentional Infliction of                                                                            Declaratory Relief Only
                                                          Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                       harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                             Mechanics Lien
                                                          Other Real Property (not eminent
          Other Pl /PD/WO                                                                                      Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                     Case (non-tort/non-complex)
Non-Pl/PD/WO (Other) Tort                                 foreclosure)
                                                                                                               Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                    (non-tort/non-complex)
         Practice (07)                               Commercial (31 )
                                                                                                      Miscellaneous Civil Petition
     Civil Rights (e.g. , discrimination ,           Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                  Governance (2 1)
          harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g. , slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                               Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11 )                      Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                                Writ-Administrative Mandamus                         Election Contest
         Other Professional Malpractice                   Writ-Mandamus on Limited Court                       Petition for Name Change
              (not medical or legal)                          Case Matter                                      Petition for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                        Writ-Other Limited Court Case                              Claim
Employment                                                    Review                                           Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-0 10 [Rev. July 1, 2007]                                                                                                               Page 2 of 2
                                                     CIVIL CASE COVER SHEET
                                                                                                                                  Ex. A-062
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 SHORT TITLE:       Clack vs . Silverado Senior Living , Inc., et al.                                      CASE NU MBER




                                   CIVIL CASE COVER SHEET ADDENDUM AND
                                           STATEMENT OF LOCATION
                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                    This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




           Step 1:     After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                       Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


             Step 2:   In Column B, check the box for the type of action that best describes the nature of the case.


           Step 3:     In Column C, circle the number which explains the reason for the court filing location you have
                       chosen .

                                            Applicable Reasons for Choosing Court Filing Location {Column C)

1. Class actions must be filed in the Stanley Mask Courthouse, Central District.          7. Location where petitioner resides .
2. Permissive filing in central district.                                                 8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                  9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                   10. Location of Labor Commissioner Office.
                                                                                         11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                         non-collection, limited collection, or personal injury) .
6. Location of property or permanently garaged vehicle.




                                   A                                                            B                                                           C
                         Civil Case Cover Sheet                                           Type of Action                                         Applicable Reasons -
                               Category No.                                              (Check only one)                                         See Step 3 Above

                                Auto (22)             □ A7100 Motor Vehicle - Personal Injury/ Property Damage/Wrongful Death                  1, 4, 11
       0     t::
   :i 0
   <( I-                 Uninsured Motorist (46)      □ A7110 Personal Injury/ Property Damage/Wrongful Death - Uninsured Motorist             1, 4, 11


                                                      □ A6070 Asbestos Property Damage                                                         1, 11
                             Asbestos (04)
                                                      □ A7221 Asbestos - Personal Injury/Wrongful Death                                        1, 11
   ~ t::
       8. ~
   c..
   -
       ... -=
       0

       ~c
              -
              n,
              Cl)
                          Product Liability (24)      □ A7260 Product Liability (not asbestos or toxic/environmental )                         1, 4, 11

                                                                                                                                                 1, 4, 11
   .:!,,3                                             □ A7210 Medical Malpractice - Physicians & Surgeons
   -=   'c,
   "iii C:
                        Medical Malpractice (45)
                                                      □ A7240 Other Professional Health Care Malpractice
                                                                                                                                               1, 4, 11
       c:e
       03::
   I!?        Q)                                      □ A7250 Premises Liability (e.g. , slip and fall )
   Cl)                                                                                                                                         1, 4, 11
   ~          g>             Other Personal
              E              Injury Property          □ A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                  1, 4, 11
   -=
   50
       Cl>
              n,            Damage Wrongful                       assault, vandalism , etc.)
                               Death (23)                                                                                                      1, 4, 11
                                                      □ A7270 Intentional Infliction of Emotional Distress
                                                                                                                                               1, 4, 11
                                                      121 A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/ 18
                                                    CIVIL CASE COVER SHEET ADDENDUM                                                         Local Rule 2.3

   For Mandatory Use
                                                       AND STATEMENT OF LOCATION                                                               Page 1 of 4
                                                                                                                                                     Ex. A-063
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SHORT TITLE:               Clack vs. Silverado Senior Living, Inc., et al.                                   CASE NU MBER




                                          A                                                         B                                              C Applicable
                                Civil Case Cover Sheet                                        Type of Action                                    Reasons - See Step 3
                                      Category No.                                           (Check only one)                                         Above

                                  Business Tort (07)         □ A6029 Other Commercial/ Business Tort (not fraud/breach of contract)             1, 2, 3

   ~ t::
                    0              Civil Rights (08)         □ A6005 Civil Rights/Discrimination                                                1, 2, 3

                  -
   Cl)
   c.. l-
   o .c:
   ...
   ll..             :g
  -c                               Defamation (13)           □ A6010 Defamation (slander/libel)                                                 1, 2, 3
   ~-
  ·--
   -
       :::,
   c: en
                    :::,

                    C:                Fraud (16)             □ A6013 Fraud (no contract)                                                        1, 2, 3
   «ie
   gs:
   Ill
   ...            - Cl)                                      □ A6017 Legal Malpractice                                                          1, 2, 3
   Cl>              en       Professional Negligence (25)
   ll..             CV
   c:: E                                                     □ A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3
   0   CV
   zc
                                      Other (35)             □ A6025 Other Non-Personal Injury/ Property Damage tort                            1, 2, 3


         -    C:
              Cl)
              E
                              Wrongful Termination (36)      □ A6037 Wrongful Termination                                                       1, 2, 3


         ~                                                   □ A6024 Other Employment Complaint Case                                            1, 2, 3
         C.                    Other Employment ( 15)
         E                                                   □ A6109 Labor Commissioner Appeals                                                 10
         w

                                                             □ A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2, 5
                                                                        eviction)
                             Breach of Contract/ Warranty                                                                                       2, 5
                                         (06)                □ A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                   (not insurance)                                                                                              1, 2, 5
                                                             □ A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                1, 2, 5
                                                             □ A6028 Other Breach of Contract/Warranty (not fraud or negligence)

          ti                                                 □ A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
         -
         (.)
              ~
              C:
              0
                                   Collections (09)
                                                             □ A6012 Other Promissory Note/Collections Case                                     5, 11

                                                             □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                                       Purchased on or after Januarv 1 2014)

                               Insurance Coverage (18)       □ A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8


                                                             □ A6009 Contractual Fraud                                                          1, 2, 3, 5
                                 Other Contract (37)         □ A6031 Tortious Interference                                                      1, 2, 3, 5

                                                             □   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)            1, 2, 3, 8, 9

                               Eminent Domain/Inverse
                                                             □ A7300 Eminent Domain/Condemnation                Number of parcels_ _ _          2, 6
                                 Condemnation (14)
          ~
          Cl)
              c..               Wrongful Eviction (33)       □ A6023 Wrongful Eviction Case                                                     2,6
          e
         ll..
         «i                                                  □ A6018 Mortgage Foreclosure                                                       2,6
         ~                     Other Real Property (26)      □ A6032 Quiet Title                                                                2,6

                                                             □ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                            Unlawful Detainer-Commercial
              ...
              Cl)
                                        (31)                 □ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
              C:
         "iv                 Unlawful Detainer-Residential
          1i>                            (32)                □ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
         C

         ~
                                 Unlawful Detainer-
                                Post-Foreclosure (34)        □ A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
              CV
         "'2
         ::::,               Unlawful Detainer-Drugs (38)    □ A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                             CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                AND STATEMENT OF LOCATION                                                       Page 2 of 4
 For Mandatory Use                                                                                                                                     Ex. A-064
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SHORT TITLE:    Clack vs . Silverado Senior Living , Inc., et al.                                   CASE NU MBER




                                 A                                                         B                                 C Applicable
                     Civil Case Cover Sheet                                          Type of Action                       Reasons - See Step 3
                           Category No.                                             (Check only one)                            Above

                      Asset Forfeiture (05)          □ A6108 Asset Forfeiture Case                                        2, 3,6

                    Petition re Arbitration ( 11 )   □ A6115 Petition to Compel/ConfirmNacateArbitration                  2, 5


                                                     □ A6151 Writ - Administrative Mandamus                               2, 8
                      Writ of Mandate (02)           □ A6152 Writ - Mandamus on Limited Court Case Matter                 2

                                                     □ A6153 Writ - Other Limited Court Case Review                       2


                   Other Judicial Review (39)        □ A6150 Other Writ /Judicial Review                                  2, 8


                 Antitrust/Trade Regulation (03)     □ A6003 Antitrust/Trade Regulation                                   1, 2, 8

                    Construction Defect (10)         □ A6007 Construction Defect                                          1, 2, 3

                   Claims Involving Mass Tort
                              (40)                   □ A6006 Claims Involving Mass Tort                                   1, 2, 8


                    Securities Litigation (28)       □ A6035 Securities Litigation Case                                   1, 2, 8

                            Toxic Tort
                        Environmental (30)           □ A6036 Toxic Tort/Environmental                                     1, 2, 3, 8

                  Insurance Coverage Claims
                    from Complex Case (41)           □ A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8


                                                     □ A6141 Sister State Judgment                                        2, 5, 11

  --
   C:
   Cl)
   E E
          C:
          Cl)

                           Enforcement
                                                     □ A6160 Abstract of Judgment
                                                     □ A6107 Confession of Judgment (non-domestic relations)
                                                                                                                          2, 6
                                                                                                                          2, 9
   Cl>     Cl
   ~                     of Judgment (20)
          "C
                                                     □ A6140 Administrative Agency Award (not unpaid taxes)               2, 8
  .S! ~
  ~ 0                                                □ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8

                                                     □ A6112 Other Enforcement of Judgment Case                           2, 8, 9


                             RICO(27)                □ A6033 Racketeering (RICO) Case                                     1, 2, 8
          II)
   II)
   :::,   -C:
   0      "iv                                        □ A6030 Declaratory Relief Only                                      1, 2, 8
   :g     C.
  ~        E
  Q)      0             Other Complaints             □ A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
   (.)    (.)
                   (Not Specified Above) (42)
   II)
  :iii ·s;:                                          □ A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
          i:3                                        □ A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                     Partnership Corporation
                        Governance (21)              □ A6113 Partnership and Corporate Governance Case                    2, 8


                                                     □ A6121 Civil Harassment With Damages                                2, 3, 9
   II)    II)
   :::,
   0
          C:
          O                                          □ A6123 Workplace Harassment With Damages                            2, 3, 9
   ~ +:.
  ~       t;           Other Petitions (Not          □ A6124 Elder/ Dependent Adult Abuse Case With Damages               2, 3, 9
  Q) a.
   ~ ·s;:
                      Specified Above) (43)          □ A6190 Election Contest                                             2
  :iii i:3                                           □ A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                     □ A6170 Petition for Relief from Late Claim Law                      2, 3, 8
                                                     □ A6100 Other Civil Petition                                         2, 9




                                                     CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                        AND STATEMENT OF LOCATION                                         Page 3 of 4
 For Mandatory Use                                                                                                               Ex. A-065
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 SHORT TITLE:   Clack vs. Silverado Senior Living , Inc., et al.                                 CASE NU MBER




Step 4: Statement of Reason and Address:                       Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected . Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                            ADD RESS :
   REASON:                                                                                          330 N. Hayworth Avenue
    D 1. D 2. D 3. D 4. D 5. D 6. D 7. □ 8. □ 9. □ 10. 0 11.



   CITY:                                         STATE:       ZIP CODE:


   Los Angeles                                   CA          90048

Step 5: Certification of Assignment:                  I certify that this case is properly filed in the Central                         District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(l)(E)].




  Dated: December 15, 2020
                                                                                             (SIGNATURE




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.

       2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3.   Civil Case Cover Sheet, Judicial Council form CM-010.

       4.   Civil Case Cover Sheet Addendum and Statement of Location form , LACIV 109, LASC Approved 03-04 (Rev.
            02/16).

       5.   Payment in full of the filing fee , unless there is court order for waiver, partial or scheduled payments.

       6.   A signed order appointing the Guardian ad Litem , Judicial Council form CIV-010 , if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint , or other initiating pleading in the case.




                                               CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
  LASC CIV 109     Rev. 12/18
                                                  AND STATEMENT OF LOCATION                                                    Page 4 of 4
  For Mandatory     Use                                                                                                           Ex. A-066
             Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 67 of 108 Page ID #:67
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV47881

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Stephen I. Goorvitch               32




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       12/16/2020
    on _____________________________                                        R. Clifton
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE                                              Ex. A-67
LASC Approved 05/06
             Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 68 of 108 Page ID #:68
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE                                           Ex. A-68
LASC Approved 05/06
Electronically Received 12/23/2020 03:08 PM   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 69 of 108 Page ID #:69




                                                                                                                 Ex. A-69
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                                                                   Ex. A-70
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 71 of 108 Page ID #:71




                                                                   Ex. A-71
     Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 72 of 108 Page ID #:72




                                           Attachment 4
4.      a.    Title: Ringo vs. Silverado Senior Living, Inc. et al.
        b.    Case number: 20STCV47357
        c.    Court: _X Same as above
                     _X other state or federal court (name and address):
        d.    Department: 27
        e.    Case type: _limited civil _X_ unlimited civil _probate _family law __other
        f.    Filing date: __December 10, 2020__
        g.    Has this case been designated or determined as “complex?” ___ Yes _X__ No
        h.    Relationship of this case to the case referenced above (check all that apply):
              _X_ involves all the same parties and is based on the same or similar claims.
              _X_ arises from the same or substantially identical transactions, incidents, or
                 events requiring the determination of the same or substantially identical
                 questions of law or fact.
              ___ involves claims against, title to, possession of, or damages to the same
                  property.
              _X is likely to for other reasons to require substantial duplication of judicial
                  resources if heard by different judges.
        i.    Status of the case.
              _X pending
              ___ dismissed ___ with __without prejudice
              ___ disposed of by judgment
5.      a.    Title: Sarnoff vs. Silverado Senior Living, Inc. et al.
        b.    Case number: 20STCV47409
        c.    Court: _X Same as above
                      ___ other state or federal court (name and address):
        d.    Department: 29
        e.    Case type: __limited civil    _X_ unlimited civil _probate __family law __other
        f.    Filing date: __December 10, 2020__
        g.    Has this case been designated or determined as “complex?” _X__ Yes ___ No
        h.    Relationship of this case to the case referenced above (check all that apply):
              _X_ involves all the same parties and is based on the same or similar claims.




                                                                                            Ex. A-72
     Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 73 of 108 Page ID #:73




              _X_ arises from the same or substantially identical transactions, incidents, or
                 events requiring the determination of the same or substantially identical
                 questions of law or fact.
              ___ involves claims against, title to, possession of, or damages to the same
                  property.
              _X_ is likely to for other reasons to require substantial duplication of judicial
                 resources if heard by different judges.
        i.    Status of the case.
              _X_ pending
              ___ dismissed ___ with __without prejudice
              ___ disposed of by judgment


6.      a.    Title: Khorsandi vs. Silverado Senior Living, Inc. et al.
        b.    Case number: 20STCV47202
        c.    Court: _X Same as above
                     _X other state or federal court (name and address):
        d.    Department: 29
        e.    Case type: _limited civil _X_ unlimited civil _probate _family law __other
        f.    Filing date: __December 15, 2020__
        g.    Has this case been designated or determined as “complex?” ___ Yes _X__ No
        h.    Relationship of this case to the case referenced above (check all that apply):
              _X_ involves all the same parties and is based on the same or similar claims.
              _X_ arises from the same or substantially identical transactions, incidents, or
                 events requiring the determination of the same or substantially identical
                 questions of law or fact.
              ___ involves claims against, title to, possession of, or damages to the same
                  property.
              _X is likely to for other reasons to require substantial duplication of judicial
                  resources if heard by different judges.
        i.    Status of the case.
              _X pending
              ___ dismissed ___ with __without prejudice
              ___ disposed of by judgment




                                                                                            Ex. A-73
Electronically Received 12/23/2020 03:08 PM   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 74 of 108 Page ID #:74




                                                                                                                 Ex. A-69
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 75 of 108 Page ID #:75




                                                                   Ex. A-70
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 76 of 108 Page ID #:76




                                                                   Ex. A-71
     Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 77 of 108 Page ID #:77




                                           Attachment 4
4.      a.    Title: Ringo vs. Silverado Senior Living, Inc. et al.
        b.    Case number: 20STCV47357
        c.    Court: _X Same as above
                     _X other state or federal court (name and address):
        d.    Department: 27
        e.    Case type: _limited civil _X_ unlimited civil _probate _family law __other
        f.    Filing date: __December 10, 2020__
        g.    Has this case been designated or determined as “complex?” ___ Yes _X__ No
        h.    Relationship of this case to the case referenced above (check all that apply):
              _X_ involves all the same parties and is based on the same or similar claims.
              _X_ arises from the same or substantially identical transactions, incidents, or
                 events requiring the determination of the same or substantially identical
                 questions of law or fact.
              ___ involves claims against, title to, possession of, or damages to the same
                  property.
              _X is likely to for other reasons to require substantial duplication of judicial
                  resources if heard by different judges.
        i.    Status of the case.
              _X pending
              ___ dismissed ___ with __without prejudice
              ___ disposed of by judgment
5.      a.    Title: Sarnoff vs. Silverado Senior Living, Inc. et al.
        b.    Case number: 20STCV47409
        c.    Court: _X Same as above
                      ___ other state or federal court (name and address):
        d.    Department: 29
        e.    Case type: __limited civil    _X_ unlimited civil _probate __family law __other
        f.    Filing date: __December 10, 2020__
        g.    Has this case been designated or determined as “complex?” _X__ Yes ___ No
        h.    Relationship of this case to the case referenced above (check all that apply):
              _X_ involves all the same parties and is based on the same or similar claims.




                                                                                            Ex. A-72
     Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 78 of 108 Page ID #:78




              _X_ arises from the same or substantially identical transactions, incidents, or
                 events requiring the determination of the same or substantially identical
                 questions of law or fact.
              ___ involves claims against, title to, possession of, or damages to the same
                  property.
              _X_ is likely to for other reasons to require substantial duplication of judicial
                 resources if heard by different judges.
        i.    Status of the case.
              _X_ pending
              ___ dismissed ___ with __without prejudice
              ___ disposed of by judgment


6.      a.    Title: Khorsandi vs. Silverado Senior Living, Inc. et al.
        b.    Case number: 20STCV47202
        c.    Court: _X Same as above
                     _X other state or federal court (name and address):
        d.    Department: 29
        e.    Case type: _limited civil _X_ unlimited civil _probate _family law __other
        f.    Filing date: __December 15, 2020__
        g.    Has this case been designated or determined as “complex?” ___ Yes _X__ No
        h.    Relationship of this case to the case referenced above (check all that apply):
              _X_ involves all the same parties and is based on the same or similar claims.
              _X_ arises from the same or substantially identical transactions, incidents, or
                 events requiring the determination of the same or substantially identical
                 questions of law or fact.
              ___ involves claims against, title to, possession of, or damages to the same
                  property.
              _X is likely to for other reasons to require substantial duplication of judicial
                  resources if heard by different judges.
        i.    Status of the case.
              _X pending
              ___ dismissed ___ with __without prejudice
              ___ disposed of by judgment




                                                                                            Ex. A-73
               Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 79 of 108 Page ID #:79

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
Branch Name: Spring Street Courthouse
Mailing Address: 312 North Spring Street
City, State and Zip Code: Los Angeles CA 90012


SHORT TITLE:    JOE ANN CLACK, et al. vs SILVERADO SENIOR LIVING,              CASE NUMBER:
INC., et al.                                                                   20STCV47881
               NOTICE OF REJECTION OF ELECTRONIC FILING

The electronic filing described by the summary data below was reviewed and rejected by the Superior Court of
California, County of Los Angeles.


Documents Electronically Rejected
Application And Order For Appointment of Guardian Ad Litem Joe

This electronic filing was returned based on the following reason(s):
Other - REJECT. The GAL is rejected because 1. incompetency must be established by medical proof and 2. An
incompetent person lacks the capacity to be the applicant. Please be aware that non-medical declarations
(including family members and attorney declarations) as well as a power of attorney cannot be used to establish
incompetency.




01/04/2021                               E-FILING REJECTION NOTICE                                   Page: 1
                                                                                               Ex. A-74
        Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 80 of 108 Page ID #:80
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Joe Ann Clack et al
DEFENDANT/RESPONDENT:
Silverado Senior Living, Inc. et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              20STCV47881

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the PI General Order, Standing Order re PI
Procedures and Hearing Date upon each party or counsel named below by placing the document for
collection and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los
Angeles, California, one copy of the original filed/entered herein in a separate sealed envelope to each
address as shown below with the postage thereon fully prepaid, in accordance with standard court
practices.




    Jody C. Moore
    Johnson Moore
    100 E. Thousand Oaks Boulevard, Suite 229
    Thousand Oaks, CA 91360




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 01/26/2021                                     By:   M. Marquez
                                                            Deputy Clerk



                                                                                                      Ex. A-75
                                      CERTIFICATE OF MAILING
     Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 81 of 108 Page ID #:81
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                                     12/12/2023




28                                   IN




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Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 82 of 108 Page ID #:82
                                                           2018-SJ-007 -00




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        Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 83 of 108 Page ID #:83
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     FI LI N G O F D O C U M E N T S




     S E R VI C E O F S U M M O N S A N D C O M P L AI N T




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23   S T I P U L A T I O N S T O C O N T I N U E T RI A L




                                                                               Ex. A-78
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 84 of 108 Page ID #:84
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                                                                        Ex. A-79
    Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 85 of 108 Page ID #:85
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                                                                        Ex. A-80
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 86 of 108 Page ID #:86
                                                            2018-S J-007 -00




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           Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 87 of 108 Page ID #:87
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     Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 88 of 108 Page ID #:88
                                                                 2018 -SJ-007 -00




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                                                                        Ex. A-83
                                                               Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 89 of 108 Page ID #:89

                                                                                                                                                                              CIV-010
                                                ATTORNEY (Name, State Bar number, and address) :                                                       FOR COURT USE ONLY

                                                  Jody C. Moore, SBN 192601
                                              ,_ JOHNSON MOORE
                                                  100 E. Thousand Oaks Blvd., Suite 229
                                                  Thousand Oaks, CA 91360
                                                          TELEPH ONE NO.:     805-988-3661     FAX NO. (Optional) : 805-494-4777

                                                E-MAIL A DDRESS (Op tional) : Jody@Johnson-Moore.com
                                                   ATTORNEY FOR (Name):       Plaintiff
                                                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                                                        STREET ADDRESS:       111 North Hill Street
                                                        MAILI NG ADDRESS:     111 North Hill Street
                                                       CITY AND ZIP CODE:     Los Angeles, 90012
                                                           BRANCH NAM E:      Stanley Mosk Courthouse
                                                        PLAINTIFF /PETITION ER: Joe Ann Clack

                                                DEFENDANT/RESPONDENT:                    Silverado Senior Living, Inc.

                                                                      APPLICATION AND ORDER FOR APPOINTMENT                                 CASE NUMBER:

                                                                            OF GUARDIAN AD LITEM-CIVIL
                                                                                 [ZJ EXPARTE
                                                 NOTE: This form is for use in civil proceedings in which a party is a minor, an incapacitated person, or a person for
                                                 whom a conservator has been appointed. A party who seeks the appointment of a guardian ad /item in a family law or
                                                 juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad /item in a probate
                                                 proceeding should use form DE-350/GC-100. An individual cannot act as a guardian ad /item unless he or she is
                                                 represented by an attorney or is an attorney.

                                              1. Applicant (name) : Zoanne Clack                                                  is
                                                 a.    D  the parent of (name):
                                                       D
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                                                 b.       the guardian of (name):
                                                 c.    D  the conservator of (name) :
                                                 d.    D  a party to the suit.
                                                 e.    D  the minor to be represented (if the minor is 14 years of age or older).
                                                 f.    W  another interested person (specify capacity) : daughter

                                              2. This application seeks the appointment of the following person as guardian ad litem (state name, address, and telephone number) :
                                                  Zoanne Clack
                                                  1323 S. Victoria Avenue, Los Angeles, CA 90019
                                                  (323) 632-1399
                                              3. The guardian ad litem is to represent the interests of the following person (state name, address, and telephone number):
                                                  Joe Ann Clack
                                                  1323 S. Victoria Avenue, Los Angeles, CA 90019
                                                  (323) 632-1399
                                              4. The person to be represented is:
                                                 a.    D  a minor (date of birth) :
                                                 b.    W  an incompetent person.
                                                 c.    D  a person for whom a conservator has been appointed.
                                              5. The court should appoint a guardian ad litem because:
                                                 a.    W  the person named in item 3 has a cause or causes of action on which suit should be brought (describe):
                                                                While residing at the Defendants' assisted living home for the elderly, they failed to follow safety
                                                                and infection control standards. As a result, Ms. Clack contracted COVID-19. She has causes of
                                                                action for elder abuse/neglect and negligence.

                                                 D         Continued on Attachment 5a.

                                                                                                                                                                                Page 1 of 2
                                              Form Adopted for Mandatory Use                                                                                         Code of Civil Procedure,
                                                Judicial Council of Californ ia
                                                                                                   APPLICATION AND ORDER FOR APPOINTMENT                                        § 372 et seq.
                                               CIV-010 [Rev. January 1, 2008]                            OF GUARDIAN AD LITEM-CIVIL
                                                                                                                                                                   Ex. A-84
                  Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 90 of 108 Page ID #:90
                                                                                                                                                    CIV-010
       PLAINTIFF/PETITIONER:               Joe Ann Clack                                                        CASE NUMBER:


  DEFENDANT/ RESPONDENT:                   Silverado Senior Living, Inc.

5. b.     D        more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
                   in item 3, and no application for the appointment of a guardian ad litem has been made by the person identified in
                   item 3 or any other person.
     c.   D        the person named in item 3 has no guardian or conservator of his or her estate.

     d.   W        the appointment of a guardian ad litem is necessary for the following reasons (specify) :
                  Joe Ann Clack suffers from dementia, making it impossible to bring these causes of action on her
                  own behalf, including conferring with counsel, participating in discovery and otherwise participating
                  in litigation. Zoanne Clack is Joe Ann Clack's daughter and is in the best position to bring this matter
                  on her behalf.
          D        Continued on Attachment 5d .

6. The proposed guardian ad litem's relationship to the person he or she will be representing is:
   a.     Wrelated (state relationship) : daughter
     b.   D        not related (specify capacity):

7. The proposed guardian ad litem is fully competent and qualified to understand and protect the rights of the person he or she will
   represent and has no interests adverse to the interests of that person . (If there are any issues of competency or qualification or
   any possible adverse interests, describe and explain why the proposed guardian should nevertheless be appointed):




          D        Continued on Attachment 7.

 Joanna A. Hutchins
                                  (TYPE OR PRI NT NAM E)


I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: Dec      14, 2020


Zoanne Clack
                                  (TYPE OR PRI NT NAM E)                                                       (S IGNATURE OF APP LI CANT)


                                                           CONSENT TO ACT AS GUARDIAN AD LITEM
I consent to the appointment as guardian ad litem under the above petition.
Date: Dec 14, 2020

Zoanne Clack                                                                         ►   J•=    C&d
                                  (TYPE OR PRINT NAM E)                                               (S IGNATURE OF PROPOSED GUARDIAN AD LITEM)




                                                                 ORDER      W      EXPARTE
THE COURT FINDS that it is reasonable and necessary to appoint a guardian ad litem for the person named in item 3 of the
application , as requested .

THE COURT ORDERS that (name) : Zoanne Clack
is hereby appointed as the guardian ad litem for (name) :             Joe Ann Clack
for the reasons set forth in item 5 of the application .
 Date:
                                                                                                                   JUDICIAL OFFICER

                                                                                     D      SIGNATURE FOLLOWS LAST ATTAC HMENT


                                                                                                                                                        Page 2 of 2
CIV-010 [Rev. Janu ary 1, 2008)                       APPLICATION AND ORDER FOR APPOINTMENT
                                                            OF GUARDIAN AD LITEM-CIVIL
                                                                                                                                             Ex. A-85
                                                               Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 91 of 108 Page ID #:91

                                                                                                                                                                              CIV-010
                                                ATTORNEY (Name, State Bar number, and address) :                                                       FOR COURT USE ONLY

                                                  Jody C. Moore, SBN 192601
                                              ,_ JOHNSON MOORE
                                                  100 E. Thousand Oaks Blvd., Suite 229
                                                  Thousand Oaks, CA 91360
                                                          TELEPH ONE NO.:     805-988-3661     FAX NO. (Optional) : 805-494-4777

                                                E-MAIL A DDRESS (Op tional) : Jody@Johnson-Moore.com
                                                   ATTORNEY FOR (Name):       Plaintiff
                                                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                                                        STREET ADDRESS:       111 North Hill Street
                                                        MAILI NG ADDRESS:     111 North Hill Street
                                                       CITY AND ZIP CODE:     Los Angeles, 90012
                                                           BRANCH NAM E:      Stanley Mosk Courthouse
                                                        PLAINTIFF /PETITION ER: Joe Ann Clack

                                                DEFENDANT/RESPONDENT:                    Silverado Senior Living, Inc.

                                                                      APPLICATION AND ORDER FOR APPOINTMENT                                 CASE NUMBER:

                                                                            OF GUARDIAN AD LITEM-CIVIL
                                                                                 [ZJ EXPARTE
                                                 NOTE: This form is for use in civil proceedings in which a party is a minor, an incapacitated person, or a person for
                                                 whom a conservator has been appointed. A party who seeks the appointment of a guardian ad /item in a family law or
                                                 juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad /item in a probate
                                                 proceeding should use form DE-350/GC-100. An individual cannot act as a guardian ad /item unless he or she is
                                                 represented by an attorney or is an attorney.

                                              1. Applicant (name) : Zoanne Clack                                                  is
                                                 a.    D  the parent of (name):
                                                       D
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                                                 b.       the guardian of (name):
                                                 c.    D  the conservator of (name) :
                                                 d.    D  a party to the suit.
                                                 e.    D  the minor to be represented (if the minor is 14 years of age or older).
                                                 f.    W  another interested person (specify capacity) : daughter

                                              2. This application seeks the appointment of the following person as guardian ad litem (state name, address, and telephone number) :
                                                  Zoanne Clack
                                                  1323 S. Victoria Avenue, Los Angeles, CA 90019
                                                  (323) 632-1399
                                              3. The guardian ad litem is to represent the interests of the following person (state name, address, and telephone number):
                                                  Joe Ann Clack
                                                  1323 S. Victoria Avenue, Los Angeles, CA 90019
                                                  (323) 632-1399
                                              4. The person to be represented is:
                                                 a.    D  a minor (date of birth) :
                                                 b.    W  an incompetent person.
                                                 c.    D  a person for whom a conservator has been appointed.
                                              5. The court should appoint a guardian ad litem because:
                                                 a.    W  the person named in item 3 has a cause or causes of action on which suit should be brought (describe):
                                                                While residing at the Defendants' assisted living home for the elderly, they failed to follow safety
                                                                and infection control standards. As a result, Ms. Clack contracted COVID-19. She has causes of
                                                                action for elder abuse/neglect and negligence.

                                                 D         Continued on Attachment 5a.

                                                                                                                                                                                Page 1 of 2
                                              Form Adopted for Mandatory Use                                                                                         Code of Civil Procedure,
                                                Judicial Council of Californ ia
                                                                                                   APPLICATION AND ORDER FOR APPOINTMENT                                        § 372 et seq.
                                               CIV-010 [Rev. January 1, 2008]                            OF GUARDIAN AD LITEM-CIVIL
                                                                                                                                                                   Ex. A-84
                  Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 92 of 108 Page ID #:92
                                                                                                                                                    CIV-010
       PLAINTIFF/PETITIONER:               Joe Ann Clack                                                        CASE NUMBER:


  DEFENDANT/ RESPONDENT:                   Silverado Senior Living, Inc.

5. b.     D        more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
                   in item 3, and no application for the appointment of a guardian ad litem has been made by the person identified in
                   item 3 or any other person.
     c.   D        the person named in item 3 has no guardian or conservator of his or her estate.

     d.   W        the appointment of a guardian ad litem is necessary for the following reasons (specify) :
                  Joe Ann Clack suffers from dementia, making it impossible to bring these causes of action on her
                  own behalf, including conferring with counsel, participating in discovery and otherwise participating
                  in litigation. Zoanne Clack is Joe Ann Clack's daughter and is in the best position to bring this matter
                  on her behalf.
          D        Continued on Attachment 5d .

6. The proposed guardian ad litem's relationship to the person he or she will be representing is:
   a.     Wrelated (state relationship) : daughter
     b.   D        not related (specify capacity):

7. The proposed guardian ad litem is fully competent and qualified to understand and protect the rights of the person he or she will
   represent and has no interests adverse to the interests of that person . (If there are any issues of competency or qualification or
   any possible adverse interests, describe and explain why the proposed guardian should nevertheless be appointed):




          D        Continued on Attachment 7.

 Joanna A. Hutchins
                                  (TYPE OR PRI NT NAM E)


I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: Dec      14, 2020


Zoanne Clack
                                  (TYPE OR PRI NT NAM E)                                                       (S IGNATURE OF APP LI CANT)


                                                           CONSENT TO ACT AS GUARDIAN AD LITEM
I consent to the appointment as guardian ad litem under the above petition.
Date: Dec 14, 2020

Zoanne Clack                                                                         ►   J•=    C&d
                                  (TYPE OR PRINT NAM E)                                               (S IGNATURE OF PROPOSED GUARDIAN AD LITEM)




                                                                 ORDER      W      EXPARTE
THE COURT FINDS that it is reasonable and necessary to appoint a guardian ad litem for the person named in item 3 of the
application , as requested .

THE COURT ORDERS that (name) : Zoanne Clack
is hereby appointed as the guardian ad litem for (name) :             Joe Ann Clack
for the reasons set forth in item 5 of the application .
 Date:
                                                                                                                   JUDICIAL OFFICER

                                                                                     D      SIGNATURE FOLLOWS LAST ATTAC HMENT


                                                                                                                                                        Page 2 of 2
CIV-010 [Rev. Janu ary 1, 2008)                       APPLICATION AND ORDER FOR APPOINTMENT
                                                            OF GUARDIAN AD LITEM-CIVIL
                                                                                                                                             Ex. A-85
                                                               Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 93 of 108 Page ID #:93

                                                                                                                                                                               CIV-010
                                                ATTORNEY (Name, State Bar number, and address) :                                                       FOR COURT USE ONLY

                                                  Jody C. Moore, SBN 192601
                                              ,_ JOHNSON MOORE
                                                  100 E. Thousand Oaks Blvd., Suite 229
                                                  Thousand Oaks, CA 91360
                                                          TELEPH ONE NO.:   805-988-3661     FAX NO. (Optional) : 805-494-4777

                                                E-MAIL A DDRESS (Optional): Jody@Johnson-Moore.com
                                                   ATTORNEY FOR (Name):     Plaintiff
                                                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                                                        STREET ADDRESS :    111 North Hill Street
                                                        MAILI NG ADDRESS :  111 North Hill Street
                                                       CITY AND ZIP CODE:   Los Angeles, 90012
                                                           BRANC H NAME:    Stanley Mosk Courthouse
                                                        PLAINTIFF /PETITION ER: Joe Ann Clack

                                                DEFENDANT/RESPONDENT:                    Silverado Senior Living, Inc.

                                                                      APPLICATION AND ORDER FOR APPOINTMENT                                 CASE NUMBER:

                                                                            OF GUARDIAN AD LITEM-CIVIL                                         20STCV47881
                                                                                           m
                                                                                      EXPARTE
                                                 NOTE: This form is for use in civil proceedings in which a party is a minor, an incapacitated person, or a person for
                                                 whom a conservator has been appointed. A party who seeks the appointment of a guardian ad /item in a family law or
                                                 juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad /item in a probate
                                                 proceeding should use form DE-350/GC-100. An individual cannot act as a guardian ad /item unless he or she is
                                                 represented by an attorney or is an attorney.

                                              1. Applicant (name) : Zoanne Clack                                                   is
                                                 a.    D  the parent of (name) :
                                                       D
Electronically Received 02/26/2021 02:52 PM




                                                 b.       the guardian of (name) :
                                                 c.    D  the conservator of (name) :
                                                 d.    D  a party to the suit.
                                                 e.    D  the minor to be represented (if the minor is 14 years of age or older) .
                                                 f.    W  another interested person (specify capacity) : daughter

                                              2. This application seeks the appointment of the following person as guardian ad litem (state name, address, and telephone number) :
                                                  Zoanne Clack
                                                  1323 S. Victoria Avenue, Los Angeles, CA 90019
                                                  (323) 632-1399
                                              3. The guardian ad litem is to represent the interests of the following person (state name, address, and telephone number):
                                                  Joe Ann Clack
                                                  1323 S. Victoria Avenue, Los Angeles, CA 90019
                                                  (323) 632-1399
                                              4. The person to be represented is:
                                                 a.    D  a minor (date of birth):
                                                 b.    W  an incompetent person .
                                                 c.    D  a person for whom a conservator has been appointed.
                                              5. The court should appoint a guardian ad litem because:
                                                 a.    W  the person named in item 3 has a cause or causes of action on which suit should be brought (describe) :
                                                                While residing at the Defendants' assisted living home for the elderly, they failed to follow safety
                                                                and infection control standards. As a result, Ms. Clack contracted COVID-19. She has causes of
                                                                action for elder abuse/neglect and negligence.

                                                 D         Continued on Attachment Sa.

                                                                                                                                                                                Pa e1 of2
                                              Form Adopted for Mandatory Use                                                                                         Code of Civil Procedure,
                                                Judicial Council of Californ ia
                                                                                                   APPLICATION AND ORDER FOR APPOINTMENT                                        § 372 et seq .
                                               CIV-010 [Rev. January 1, 2008)                            OF GUARDIAN AD LITEM-CIVIL
                                                                                                                                                                            Ex. A-86
                  Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 94 of 108 Page ID #:94
                                                                                                                                                    CIV-010
       PLAINTIFF/PETITIONER:               Joe Ann Clack                                                        CASE NUMBER:


  DEFENDANT/ RESPONDENT:                   Silverado Senior Living, Inc.                                            20STCV47881

5. b.     D        more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
                   in item 3, and no application for the appointment of a guardian ad litem has been made by the person identified in
                   item 3 or any other person.
     c.   D        the person named in item 3 has no guardian or conservator of his or her estate.

     d.   W        the appointment of a guardian ad litem is necessary for the following reasons (specify) :
                  Joe Ann Clack suffers from dementia, making it impossible to bring these causes of action on her
                  own behalf, including conferring with counsel, participating in discovery and otherwise participating
                  in litigation. Zoanne Clack is Joe Ann Clack's daughter and is in the best position to bring this matter
                  on her behalf.
          D        Continued on Attachment 5d .

6. The proposed guardian ad litem's relationship to the person he or she will be representing is:
   a.     Wrelated (state relationship) : daughter
     b.   D        not related (specify capacity):

7. The proposed guardian ad litem is fully competent and qualified to understand and protect the rights of the person he or she will
   represent and has no interests adverse to the interests of that person . (If there are any issues of competency or qualification or
   any possible adverse interests, describe and explain why the proposed guardian should nevertheless be appointed):




          D        Continued on Attachment 7.

 Joanna A. Hutchins
                                  (TYPE OR PRI NT NAM E)


I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: Dec      14, 2020


Zoanne Clack
                                  (TYPE OR PRI NT NAM E)                                                       (S IGNATURE OF APP LI CANT)


                                                           CONSENT TO ACT AS GUARDIAN AD LITEM
I consent to the appointment as guardian ad litem under the above petition.
Date: Dec 14, 2020

Zoanne Clack                                                                         ►   J•=    C&d
                                  (TYPE OR PRINT NAM E)                                               (S IGNATURE OF PROPOSED GUARDIAN AD LITEM)




                                                                 ORDER      W      EXPARTE
THE COURT FINDS that it is reasonable and necessary to appoint a guardian ad litem for the person named in item 3 of the
application , as requested .

THE COURT ORDERS that (name) : Zoanne Clack
is hereby appointed as the guardian ad litem for (name) :             Joe Ann Clack
for the reasons set forth in item 5 of the application .
 Date:
                                                                                                                   JUDICIAL OFFICER

                                                                                     D      SIGNATURE FOLLOWS LAST ATTAC HMENT


                                                                                                                                                     Page 2 of 2
CIV-010 [Rev. Janu ary 1, 2008)                       APPLICATION AND ORDER FOR APPOINTMENT
                                                            OF GUARDIAN AD LITEM-CIVIL
                                                                                                                                                   Ex. A-87
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 95 of 108 Page ID #:95




                                                                MG 000078   Ex. A-88
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 96 of 108 Page ID #:96




                                                              CSMC 000019   Ex. A-89
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 97 of 108 Page ID #:97




                                                              CSMC 000020   Ex. A-90
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 98 of 108 Page ID #:98




                                                              CSMC 000021   Ex. A-91
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 99 of 108 Page ID #:99




                             EXHIBIT B
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 100 of 108 Page ID #:100




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      RIMA M. BADAWIYA, SB# 204174
                    2   Email: Rima.Badawiya@lewisbrisbois.com
                      650 East Hospitality Lane, Suite 600
                    3 San Bernardino, California 92408
                      Telephone: 909.387.1130
                    4 Facsimile: 909.387.1138
                    5 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      LANN G. McINTYRE, SB# 106067
                    6   Email: Lann.McIntyre@lewisbrisbois.com
                      RITA R. KANNO, SB# 230679
                    7   Email: Rita.Kanno@lewisbrisbois.com
                      550 West C Street, Suite 1700
                    8 San Diego, California 92101
                      Telephone: 619.233.1006
                    9 Facsimile: 619.233.8627
                   10 Attorneys for Defendants
                      SILVERADO SENIOR LIVING, INC., SILVERADO SENIOR LIVING MANAGEMENT, INC.,
                   11 SUBTENANT 330 NORTH HAYWORTH AVENUE, LLC, LOREN SHOOK, JASON RUSSO
                   12                           UNITED STATES DISTRICT COURT
                   13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   14 ,JOEANNCLACK,byandthroughherGuardianadLitem,           Case No.
                      ZOANNECLACK,
                   15                                                        NOTICE TO ADVERSE PARTY OF
                                    Plaintiff,                               REMOVAL OF ACTION PURSUANT
                   16                                                        TO 28 U.S.C. §§ 1331 AND 1442
                                vs.
                   17
                      SILVERADO SENIOR LIVING, INC.; SILVERADO
                   18 SENIOR LIVING MANAGEMENT,INC., SUBTENANT
                      330 NORTH HAYWORTH AVENUE, LLC; LOREN
                   19 SHOOK,individually;JASONRUSSO,individually;andDoes1-
                      25,inclusive,
                   20
                                    Defendants.
                   21
                   22
                   23            TO THE HONORABLE COURT, PLAINTIFFS HEREIN, AND THEIR
                   24 RESPECTIVE COUNSEL OF RECORD:
                   25            PLEASE TAKE NOTICE that Defendants SILVERADO SENIOR LIVING,
                   26 INC., SILVERADO SENIOR LIVING MANAGEMENT, INC., SUBTENANT 330
                   27 NORTH HAYWORTH AVENUE, LLC, LOREN SHOOK, JASON RUSSO

LEWIS              28 (“Defendants”), on May 5, 2021, filed with the Clerk of the Court for the United States
BRISBOIS
BISGAARD
& SMITH LLP
                        4815-5587-4278.1                             1
ATTORNEYS AT LAW                             NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 101 of 108 Page ID #:101




                    1 District Court, Central District of California, a Notice of Removal and supporting
                    2 pleadings to accomplish the removal of the action pending in the Superior Court of
                    3 the State of California in and for the County of Los Angeles, entitled Joe Ann Clack,
                    4 by and through her Guardian ad Litem, Zoanne Clack v. Silverado Senior Living,
                    5 Inc.; Silverado Senior Living Management, Inc., Subtenant 330 North Hayworth
                    6 Avenue, LLC; Loren Shook, individually; Jason Russo, individually; and Does 1-25,
                    7 inclusive, Los Angeles County Superior Court Case No. 20STCV47881, commenced
                    8 on December 15, 2020.
                    9            A copy of the Notice of Removal and supporting papers have also been filed
                   10 with the Clerk of the Los Angeles County Superior Court, as an attachment to the
                   11 Notice to State Court of Removal to Federal Court. Plaintiff was served with a copy
                   12 of the Notice of Removal and supporting papers in conjunction with the Notice to
                   13 State Court of Removal to Federal Court.
                   14 DATED: May 5, 2021                         LEWIS BRISBOIS BISGAARD & SMITH LLP
                   15
                                                             By: /s/ Rita R. Kanno
                   16                                            Rima M. Badawiya
                                                                 Lann G. McIntyre
                   17                                            Rita R. Kanno
                                                                 Attorneys for Defendants
                   18                                            SILVERADO SENIOR LIVING, INC., et al.
                   19
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LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4815-5587-4278.1                          2
ATTORNEYS AT LAW                             NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 102 of 108 Page ID #:102




                    1                                  CERTIFICATE OF SERVICE
                                           Joe Ann Clack, et al. v. Silverado Senior Living, Inc., et al.
                    2                           USDC-CD, _______ Division, Case No. _______
                    3
                        STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                    4
                      At the time of service, I was over 18 years of age and not a party to the action. My
                    5 business address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am
                      employed in the office of a member of the bar of this Court at whose direction the
                    6 service was made.
                    7            On May 5, 2021, I served the following document:
                    8
                      NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION PURSUANT TO 28
                    9 U.S.C. §§ 1331 AND 1442
                   10         I served the document on the following persons at the following address
                        (including a fax number and email addresses, if applicable):
                   11
                         Jody C. Moore, Esq.                              Tel: 805.988.3661
                   12    Gregory L. Johnson, Esq.                         Fax: 805.494.4777
                         Joanna A Hutchins, Esq.                          Email: jody@johnson-moore.com
                   13    JOHNSON MOORE                                           gregory@johnson-moore.com
                         100 E. Thousand Oaks Blvd, Suite 229                    joanna@johnson-moore.com
                   14    Thousand Oaks, CA 91360
                         Attorneys for Plaintiffs
                   15
                   16            The document was served by the following means:
                   17  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed
                   18 the documents with the Clerk of the Court using the CM/ECF system, which sent
                      notification of that filing to the persons listed above.
                   19      I declare under penalty of perjury under the laws of the United States of
                   20 America that the foregoing is true and correct.

                   21 Dated: May 5, 2021                                  /s/ Kathie Richmond
                   22                                                     Kathie Richmond
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD                4815-5587-4278.1
& SMITH LLP
ATTORNEYS AT LAW                                             CERTIFICATE OF SERVICE
Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 103 of 108 Page ID #:103




                              EXHIBIT C
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 104 of 108 Page ID #:104




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      RIMA M. BADAWIYA, SB# 204174
                    2   Email: Rima.Badawiya@lewisbrisbois.com
                      650 East Hospitality Lane, Suite 600
                    3 San Bernardino, California 92408
                      Telephone: 909.387.1130
                    4 Facsimile: 909.387.1138

                    5 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      LANN G. McINTYRE, SB# 106067
                    6   Email: Lann.McIntyre@lewisbrisbois.com
                      RITA R. KANNO, SB# 230679
                    7   Email: Rita.Kanno@lewisbrisbois.com
                      550 West C Street, Suite 1700
                    8 San Diego, California 92101
                      Telephone: 619.233.1006
                    9 Facsimile: 619.233.8627
                   10 Attorneys for Defendants
                      SILVERADO SENIOR LIVING, INC., SILVERADO
                   11 SENIOR LIVING MANAGEMENT, INC., SUBTENANT
                      330 NORTH HAYWORTH AVENUE, LLC, LOREN
                   12 SHOOK, JASON RUSSO

                   13                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   14                                         COUNTY OF LOS ANGELES
                   15 JOE ANN CLACK, by and through her Guardian ad Litem,           Case No. 20STCV47881
                      ZOANNECLACK,
                   16                                                                [Assigned for All Purposes to Hon. Stephen
                                       Plaintiff,                                    Goorvitch, Dept. 39]
                   17
                                vs.                                                  DEFENDANTS’ NOTICE TO STATE COURT OF
                   18                                                                REMOVAL TO FEDERAL COURT PURSUANT
                      SILVERADO SENIOR LIVING, INC.; SILVERADO                       TO 28 U.S.C. §§ 1331 AND 1442
                   19 SENIOR LIVING MANAGEMENT, INC., SUBTENANT
                      330 NORTH HAYWORTH AVENUE, LLC; LOREN                          Action Filed: December 15, 2020
                   20 SHOOK, individually; JASON RUSSO, individually; and Does       Trial Date:   None Set
                      1-25,inclusive,
                   21
                                       Defendants.
                   22

                   23            TO THE HONORABLE COURT, PLAINTIFF HEREIN, AND HER RESPECTIVE
                   24 COUNSEL OF RECORD:

                   25            PLEASE TAKE NOTICE that on May 5, 2021, Defendants SILVERADO SENIOR
                   26 LIVING, INC., SILVERADO SENIOR LIVING MANAGEMENT, INC., SUBTENANT 330

                   27 NORTH HAYWORTH AVENUE, LLC; LOREN SHOOK and, JASON RUSSO (“Defendants”),

                   28 by and through its counsel, filed the attached Notice, pursuant to 28 U.S.C. §§ 1331, 1441, 1442,
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                        4845-1058-3265.1                                         1
ATTORNEYS AT LAW                       DEFENDANTS’ NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 105 of 108 Page ID #:105




                    1 and 1446 with the Clerk of the Court for the United States District Court, Central District of

                    2 California, and the supporting pleadings to accomplish the removal of this action pending in the

                    3 Superior Court of the State of California in and for the County of Los Angeles, entitled Joe Ann

                    4 Clack, by and through her Guardian ad Litem, Zoanne Clack v. Silverado Senior Living, Inc.;

                    5 Silverado Senior Living Management, Inc., Subtenant 330 North Hayworth Avenue, LLC; Loren

                    6 Shook, individually; Jason Russo, individually; and Does 1-25, inclusive, Los Angeles County

                    7 Superior Court Case No. 20STCV47881, commenced on December 15, 2020.

                    8            This action now will be placed on the docket of the aforementioned District Court for all

                    9 further proceedings.
                   10 DATED: May 5, 2021                                LEWIS BRISBOIS BISGAARD & SMITH LLP

                   11                                             By:
                                                                        Rima M. Badawiya
                   12                                                   Lann G. McIntyre
                                                                        Rita R. Kanno
                   13                                                   Attorneys for Defendants
                                                                        SILVERADO SENIOR LIVING, INC., et al.
                   14

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LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                        4845-1058-3265.1                                 2
ATTORNEYS AT LAW                       DEFENDANTS’ NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 106 of 108 Page ID #:106




                    1                                        PROOF OF SERVICE
                                            Joe Ann Clack, et al. v. Silverado Senior Living, Inc., et al.
                    2                      Los Angeles County Superior Court, Case No. 20STCV47881

                    3 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO

                    4
                             At the time of service, I was over 18 years of age and not a party to the action. My business
                    5 address is 550 West C Street, Suite 1700, San Diego, CA 92101.

                    6            On May 5, 2021, I served the following document:
                    7 DEFENDANTS’ NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT
                      PURSUANT TO 28 U.S.C. §§ 1331 AND 1442
                    8
                            I served the document on the following persons at the following address (including a fax
                    9 number and email addresses, if applicable):
                   10
                         Jody C. Moore, Esq.                                   Tel: 805.988.3661
                   11    Gregory L. Johnson, Esq.                              Fax: 805.494.4777
                         Joanna A Hutchins, Esq.                               Email: jody@johnson-moore.com
                   12    JOHNSON MOORE                                                gregory@johnson-moore.com
                         100 E. Thousand Oaks Blvd, Suite 229                         joanna@johnson-moore.com
                   13    Thousand Oaks, CA 91360
                         Attorneys for Plaintiffs
                   14

                   15            The document was served by the following means:

                   16  (BY ELECTRONIC TRANSMISSION ONLY) Only by emailing the document to the person
                      at the email address listed above based on notice provided on March 16, 2020, that during the
                   17 Coronavirus (COVID-19) pandemic, this office will be working remotely, not able to send physical
                      mail as usual, and is therefore using only electronic mail. No electronic message or other indication
                   18 that the transmission was unsuccessful was received within a reasonable time after the transmission.

                   19            I declare under penalty of perjury under the laws of the State of California that the foregoing
                        is true and correct.
                   20
                        Dated: May 5, 2021                                   /s/ Kathie Richmond
                   21                                                       Kathie Richmond
                   22

                   23

                   24

                   25

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                   28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                        4845-1058-3265.1                                   3
ATTORNEYS AT LAW                                                 PROOF OF SERVICE
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 107 of 108 Page ID #:107




                    1                           CERTIFICATE OF SERVICE
                                    Joe Ann Clack, et al. v. Silverado Senior Living, Inc., et al.
                    2                    USDC-CD, _______ Division, Case No. _______
                    3
                        STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                    4
                      At the time of service, I was over 18 years of age and not a party to the action. My
                    5 business address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am
                      employed in the office of a member of the bar of this Court at whose direction the
                    6 service was made.
                    7        On May 5, 2021, I served the following document:
                    8
                      DEFENDANTS’ NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
                    9 PURSUANT TO 28 U.S.C. §§ 1331, 1441, 1442 AND 1446
                   10         I served the document on the following persons at the following address
                        (including a fax number and email addresses, if applicable):
                   11
                        Jody C. Moore, Esq.                        Tel: 805.988.3661
                   12   Gregory L. Johnson, Esq.                   Fax: 805.494.4777
                        Joanna A Hutchins, Esq.                    Email: jody@johnson-moore.com
                   13   JOHNSON MOORE                                     gregory@johnson-moore.com
                        100 E. Thousand Oaks Blvd, Suite 229              joanna@johnson-moore.com
                   14   Thousand Oaks, CA 91360
                        Attorneys for Plaintiffs
                   15
                   16        The document was served by the following means:
                   17  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed
                   18 the documents with the Clerk of the Court using the CM/ECF system, which sent
                      notification of that filing to the persons listed above.
                   19        I declare under penalty of perjury under the laws of the United States of America
                   20 that the foregoing is true and correct.

                   21 Dated: May 5, 2021                           /s/ Kathie Richmond
                   22                                             Kathie Richmond
                   23
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LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW                                      CERTIFICATE OF SERVICE
                   Case 2:21-cv-03815 Document 1 Filed 05/05/21 Page 108 of 108 Page ID #:108




                    1                             CERTIFICATE OF SERVICE
                                      Joe Ann Clack, et al. v. Silverado Senior Living, Inc., et al.
                    2                      USDC-CD, _______ Division, Case No. _______
                    3
                        STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                    4
                      At the time of service, I was over 18 years of age and not a party to the action. My
                    5 business address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am
                      employed in the office of a member of the bar of this Court at whose direction the
                    6 service was made.
                    7           On May 5, 2021, I served the following document:
                    8
                      DEFENDANTS’ NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
                    9 PURSUANT TO 28 U.S.C. §§ 1331, 1441, 1442 AND 1446
                   10         I served the document on the following persons at the following address
                        (including a fax number and email addresses, if applicable):
                   11
                         Jody C. Moore, Esq.                         Tel: 805.988.3661
                   12    Gregory L. Johnson, Esq.                    Fax: 805.494.4777
                         Joanna A Hutchins, Esq.                     Email: jody@johnson-moore.com
                   13    JOHNSON MOORE                                      gregory@johnson-moore.com
                         100 E. Thousand Oaks Blvd, Suite 229               joanna@johnson-moore.com
                   14    Thousand Oaks, CA 91360
                         Attorneys for Plaintiffs
                   15
                   16           The document was served by the following means:
                   17  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed
                   18 the documents with the Clerk of the Court using the CM/ECF system, which sent
                      notification of that filing to the persons listed above.
                   19        I declare under penalty of perjury under the laws of the United States of America
                   20 that the foregoing is true and correct.

                   21 Dated: May 5, 2021                             /s/ Kathie Richmond
                   22                                               Kathie Richmond
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW
                        92048504v.1                     CERTIFICATE OF SERVICE
